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             AMERICAN INTERNATIONAL SPECIALTV LINES INSURANCE COMPANY
                                                            A Member Company of American International Group, Inc.
                                                                         A Capital Stock Insurance Company
                                      175 Water Street New York, NY 10038
                     NOTICE: THIS INSURER IS NOT LICENSED IN THE STATE OF NEW YORK
                                 AND IS NOT SUBJECT TO ITS SUPERVISION.
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                                                          AIG netAdvantage@
NOTICE:  THIS POLICY CONTAINS ONE OR MORE COVERAGE MODULES.          CERTAIN LIABILITY
COVERAGE PARTS OF THIS POLICY ARE LIMITED TO LIABILITY FOR CLAIMS THAT ARE FIRST MADE
AGAINST THE INSUREDS DURING THE POLICY PERIOD AND REPORTED IN WRITING TO THE INSURER
AS REQUIRED. CLAIM EXPENSES SHALL REDUCE THE APPLICABLE LIMITS OF LIABILITY AND ARE
SUBJECT TO APPLICABLE RETENTIONS. PLEASE READ THIS POLICY CAREFULLY AND REVIEW IT
WITH YOUR INSURANCE AGENT OR BROKER.
         Terms appearing in bold type have special meanings. See the Definitions for more information.


PRIOR POLICY NUMBER:                          626-17-48                                                                       POLICY NUMBER:                                              966-95-20

                                                                              DEC LARATIONS




                                                   2200 OLD GERMANTOWN ROAD
                                                   DELRAY BEACH, FL 33445
                             . . ------.-Tg...~.?~~~·:····~·::=-_.:::-·····--r~··bi~~k~t;~-~--·-····----·· g..~_6)x.i~?i~ji~i~~.~~~y.:~~~~~~~:~~_~_~
                                                                                 ·····---··T-T~-;T··M~~~h·-08~20·08··············112:01                          A.M. at the address in Item
                                                                                          !                                                    11 (a)



    SECURITY LIABILITY                                                                                                                  Policy Inception                                    Policy Inception
    SECURITY &                                                                        Security: $250,000                                 Security:                                          Security:
    PRIVACY LIABILITY                                                                 Privacy: $1,000,000                                03/08/2002                                         03/08/2002
                                                                                                                                         Privacy:                                           Privacy:
                                                                                                                                         03/08/2007                                         03/08/2007
    INFORMATION ASSET                        $15,000,000                                             $250,000                            Not Applicable                                     03/08/2002

    BUSINESS                                 $15,000,000                                  The greater of:                                Not Applicable                                     03/08/2002
    INTERRUPTION                                                                        $1,000,000; or the
                                                                                       business interruption
                                                                                      loss during the B hour
                                                                                       waiting hours period
                                                   $15,000,000                                       $250,000                            Not Applicable                                     03/08/2002
                                                       NIL                                                                               Not Applicable                                     Policy Inception
                                                   $15,000,000                                       $250,000                            Not Applicable                                     03/08/2002

                                                                                                                                                                                                EXHIBIT C
                                                                                                                                                                                                PAGE 497
90591 (03/06)                                                                                                      © 2006 American International Group, Inc. All rights reserved.
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                                    $250,000 per                      $250,000
                                    crisis
     CRISIS MANAGEMENT              management
                                    event, subject to
                                    a 0% co-

     CR·IM-iNAL··-R-EwAR-D-T~~~-~~~~6~~606-····--··---T---. . -N~i-A-ppiicai;le---T-·-·-N-~t--Ap·p·iTcable·---h)o·i·j~Y·I~ce·pt~·~---···
     CORPORA-TE-COi)-NSELT---·--·-·--·-N··IL----·········-----··T(a)--No-r;:-i·~-de~·~ifiabie--·-T---Not-App·ii·ca-ble--·TNo-i-Appiicable·
     PERFERRED®!                                            l loss: $                        i                            !
                                                            ! (b) All other   Loss:
                                                            1$~~~......-~,
                                                             ···eMbc!uJerefie




PRODUCER:          AON RISK SERVICES, INC. OF COLORADO
PRODUCER LICENSE NO.:

ADDRESS:           4100 E MISSISSIPPI AVENUE
                   SUITE 1500
                   DENVER, CO 80246-6329

IN WITNESS WHEREOF, the insurer has caused this policy to be signed on the Declarations by its
President, a Secretary and its duly authorized representative or countersigned in states where applicable.




                           SECRETARY                                                             PRESIDENT




                                               AUTHORIZED REPRESENTATIVE OR
                                          COUNTERSIGNATURE (in states where applicable)

*   Subject to an hourly sublimit of 10% and other sublimits as set forth in Clause 5. of the BASE Section, as
    amended by the Business Interruption Module
                                                                                                                              EXHIBIT C
                                                                                                                              PAGE 498
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                                                                                       AMERICAN INTERNATIONAL SPECIALTY
                                                                                           LINES INSURANCE COMPANY
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I                                                                                                             AIG netAdvantage®                                                                                                                                                                                                                  ~
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~                                                                                                                                                                                                                                                                                                                                                i
!          In consideration of the payment of the premium, and in reliance upon the application and the statements therein,
           which form a part of this policy, we agree as follows:                                                                                                                                                                                                                                                                                I
S
g 1. MODULAR FORMAT                                                                                                                                                                                                                                                                                                                               2
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e;                                                                                                                                                                                                                                                                                                                                                :§
§:                This policy shall be comprised of the following components: (i) the Declarations, (ii) this BASE Section, and                                                                                                                                                                                                                   5
                  (iii) one or more optional Coverage Modules. This BASE Section shall be applicable to all Coverage Modules.                                                                                                                                                                                                                     I,'
S                 The terms, conditions, exclusions and other limitations of each Coverage Module shall control solely with                                                                                                                                                                                                                       5
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Ii                                                                                                                                                                                                                                                                                                                                               I
2                 respect to coverage afforded by that Coverage Module.

           2.     INSURING AGREEMENTS
                  For Coverages A and B, and all other claims first made and reported coverage in this policy, solely with                                                                                                                                                                                                                        ~
§                 respect to claims first made against an insured and reported to us during the policy period or any applicable                                                                                                                                                                                                                   ~
g                 extended reporting period, and subject to the other terms, conditions, exclusions and other limitations of this                                                                                                                                                                                                                 ~
I                 policy, this policy affords the following coverage:                                                                                                                                                                                                                                                                             ~
I                  COVERAGE A: LIABILITY FOR DAMAGES                                                                                                                                                                                                                                                                                              I
@                 We shall pay amounts, in excess of the applicable Retention, you or any additional insureds are legally                                                                                                                                                                                                                         ~
I                 obligated to pay as damages and claims expenses arising from a claim first made against you or such                                                                                                                                                                                                                             !
:.!
"
                  additional insured, and reported to us in writing during the policy period or any applicable extended reporting
                  period, for your wrongful acts.
                                                                                                                                                                                                                                                                                                                                                  I
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g                                                                                                                                                                                                                                                                                                                                                 ~
§                                                                                                                                                                                                                                                                                                                                                 ~
~                  COVERAGE B: DEFENSE OF INSUREDS                                                                                                                                                                                                                                                                                                g
:;;:;;.                                                                                                                                                                                                                                                                                                                                           ~



~ .'~,".                         TO Defen dllnsureds: YVf ehhav~ t.he rightda,nd dut y tOddefend a suit brought against any insured
                   (1) four Duty d                                                                                                                                                                                                                                                                                                                ~, ;,.
;                       or covere wrong f u acts, even I t e SUIt IS groun ess or f rau u lent.                                                                                                                                                                                                                                                   ~

~                  (2) Claim Expenses:           We shall pay for claim expenses any insured incurs with our prior written consent in the                                                                                                                                                                                                         i
~                             defense of a suit for covered wrongful acts occurring during the policy period.                                                                                                                                                                                                                                     ~
@                                                                                                                                                                                                                                                                                                                                                 ~
§                  (3) Our Right To Investigate and Settle Claims: We have the right, but not the duty, to investigate any claim                                                                                                                                                                                                                  ~
S                                                                                                                                                                                                                                                                                                                                                 t:::
~                      against any insured. In the event we investigate any claim and you incur claim expenses with our prior                                                                                                                                                                                                                     ~
I                      written consent as a result of such investigation, we shall pay such claim expenses. We have the right,                                                                                                                                                                                                                    ~
I                      but not the duty, to settle any claim, with your written consent, against an additional insured or against                                                                                                                                                                                                                 I
§                      you.                                                                                                                                                                                                                                                                                                                       ~
[j
"                  (4) Your Right To Settle: You may settle any claim to which this insurance applies provided that you do so (i)                                                                                                                                                                                                                 ~5
@
~                      on behalf of all insureds, and Iii) without incurring loss in excess of the Retention.                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                  ~

§                  (5) When Our Duty To Defend Ends:                   Our duty to defend ends upon the exhaustion of the policy limit of &
§                                                                                                                                         ~
~                             liability or the applicable sublimit of liability by payment of loss, including claim expenses. Our duty to ~
 ~                            defend also ends if you fail or refuse to consent to a settlement we recommend and the claimant will        ~
ft                            accept. You must then defend the claim at your own expense. As a consequence of such failure or             ~


I
g                             refusal, our liability for loss shall not exceed the amount for which we could have settled such claim had
                              you consented, plus claim expenses incurred prior to the date of such failure or r e f u s a l . o = . i
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~          90592 (03/06)                                                                                                                                                   1      © 2006 American International Group, Inc. All rights reserved.                                                 PAGE 499                                       ~
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        3.            DEFINITIONS
                   (a)"Additional insured" means any natural person or entity (i) that an organization has expressly agreed in
                                                                                                                                                                                                                                                                                                                                                                                                                                    I~


                                                                                                                                                                                                                                                                                                                                                                                                                                     ~
I                     writing, prior to the commission of a wrongful act, to add as an insured under this policy, but only for the                                                                                                                                                                                                                                                                                                   ~
~                     wrongful acts of the organization; or (ii) any other person or entity described or listed as such in a                                                                                                                                                                                                                                                                                                         a
~                     Coverage Module of this policy, and (iii) any employee of any such described or listed entity.                                                                                                                                                                                                                                                                                                                 ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                    5
I                  (b)             "Advertising" means the material                                                                                                      in any                         publicity or promotion                                                                     including                             branding,                              co-branding,                                         ~
2                                  sponsorships and/or endorsements.                                                                                                                                                                                                                                                                                                                                                                 ~
~
2                                                                                                                                                                                                                                                                                                                                                                                                                                    5?
~                  (c)             "Application" means each and every signed application, any attachments to such applications, other                                                                                                                                                                                                                                                                                                ffi
i                                  materials submitted therewith or incorporated therein and any other documents submitted in connection                                                                                                                                                                                                                                                                                             ~
i                                  with the underwriting of this policy or the underwriting of any other errors and omissions or media liability                                                                                                                                                                                                                                                                                     &
i                                  policy issued by the insurer, or any of its affiliates, of which this policy is a renewal, replacement or which                                                                                                                                                                                                                                                                                   i
~                                  it succeeds in time. "Application" shall also include any statements, information, representations and                                                                                                                                                                                                                                                                                            g
"'
~                                  attachments made, prepared or provided by you with respect to any security assessment conducted in                                                                                                                                                                                                                                                                                                ss
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                                   connection with or involving a request for insurance under this policy.
                                                                                                                                                                                                                                                                                                                                                                                                                                     5
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I                  (d)              "Bodily injury" means physical injury, sickness, disease, pain or death, and, if arising out of the foregoing,                                                                                                                                                                                                                                                                                   ~
~                                   mental anguish, mental injury, shock, humiliation or emotional distress at any time.                                                                                                                                                                                                                                                                                                             I
~
~                  (e)              "Claim" means:                                                                                                                                                                                                                                                                                                                                                                                   I'5"
I"'                                 (1)             a written or oral demand for money, services, non-monetary relief or injunctive relief; or                                                                                                                                                                                                                                                                                       g
I                                   (2)             a suit.                                                                                                                                                                                                                                                                                                                                                                          I
I
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                   (f)              "Claim expenses" means the reasonable and necessary (i) fees and disbursements charged by an attorney
                                    appointed by us, and (ii) other fees, costs and expenses incurred in the defense or investigation of a claim
                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                                                                                                                                                                                     g
~                                   against an insured, either incurred by us or by an insured with our prior written consent.            "Claim                                                                                                                                                                                                                                                                                      ~
~
?                                   expenses" shall also include premiums for appeal bonds for covered judgments or bonds to release                                                                                                                                                                                                                                                                                                 g5
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                                    property used to secure a legal obligation, if required in any claim against an insured for your wrongful                                                                                                                                                                                                                                                                                         ~
                                                                                                                                                                                                                                                                                                                                                                                                                                      'a
~                                   acts; however, we have no obligation to appeal or to obtain bonds. This Definition is subject to the                                                                                                                                                                                                                                                                                              5
?t:                                 limitations set forth in the Definition of loss.                                                                                                                                                                                                                                                                                                                                                  [;]~
 ~                                                                                                                                                                                                                                                                                                                                                                                                                                    g
~                  (g)              "Computer attack" means unauthorized access, unauthorized use, receipt or transmission of a malicious                                                                                                                                                                                                                                                                                             ~
~                                   code or denial of service attack which:                                                                                                                                                                                                                                                                                                                                                           g
~                                                                                                                                                                                                                                                                                                                                                                                                                                     5
~                                   (1)             alters, copies, misappropriates, corrupts, destroys, disrupts, deletes, damages or prevents, restricts or                                                                                                                                                                                                                                                                         ~
~                                                   hinders access to, a computer system;                                                                                                                                                                                                                                                                                                                                             5
~                                                                                                                                                                                                                                                                                                                                                                                                                                     5
?                                   (2)             results in the disclosure of private or confidential information stored on a computer system; or                                                                                                                                                                                                                                                                                  5
i                                   (3)             results in identity theft.                                                                                                                                                                                                                                                                                                                                                        ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                     ~
~
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                                    whether any of the foregoing is intentional or unintentional, malicious or accidental, fraudulent or                                                                                                                                                                                                                                                                                              g
                                                                                                                                                                                                                                                                                                                                                                                                                                      ~
~                                   innocent, specifically targeted at you or generally distributed, and regardless of whether the perpetrator is                                                                                                                                                                                                                                                                                     g
~                                   motivated for profit.                                                                                                                                                                                                                                                                                                                                                                             ~
2                                                                                                                                                                                                                                                                                                                                                                                                                                     3
~                  (h)              "Computer system" means computer hardware, software, firmware, and components thereof, including                                                                                                                                                                                                                                                                                                  5
~
i'!                                 electronic data stored thereon, which are linked together through a network of two or more computers,                                                                                                                                                                                                                                                                                            §'a
?~                                  including such networks accessible through the Internet, intra nets, extranets or virtual private networks.
                                                                                                                                                                                                                                                                                                                                                                                                                                      ~
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r}                                                                                                                                                                                                                                                                                                                                                                                                                                    ~


~                   (i)             "Damages" means any amount that any insured shall be legally required to pay because of judgments,                                                                                                                                                                                                                                                                                                ~
~                                   arbitration awards or the like rendered against an insured, or for settlements negotiated by us or by you in                                                                                                                                                                                                                                                                                      B
~                                                                                                                                                                                                                                                                                                                                                                                                                                     5
~                                   accordance with Coverage B, including, but not limited to:                                                                                                                                                                                                                                                                                                                                        ?
~                                                                                                                                                                                                                                                                                                                                                                                                                                     ~
I                                   (1)             pre-judgment interest;                                                                                                                                                                                                                                                                                                                                                            ~
 ~                                  (2)             post-judgment interest that accrues after entry of judgment and before we have paid, offered to pay                                                                                                                                                                                                                                                                               ~
I"'                                                 or deposited in court that part of the judgment within the applicable sublimit of liability; and                                                                                                                                                                                                                                                                                  ~
                                                                                                                                                                                                                                                                                                                                                                                                                                      ~
~                                   (3)             subject to this policy's other terms, conditions, exclusions and other limitations, including but nOf_,,=,                                                                                                                                                                                                                                                                        ~
~                                                   limited to exclusions relating to profit or advantage, deliberate fraud or deliberate criminal acts: (i)-                                                                                                                                                                                                                                                                         §
!                                                   punitive, (ii) exemplary and (iii) multiple damages; provided, however, the enforceability of this                                                                                                                                                                                                                                                                                ~
~                                                                                                                                                                                                                                                                                                                                                                               ~
I                                                   Subparagraph 3(i)(3) shall be governed by such applicable law that most favors coverage for such
                                                    punitive, exemplary and multiple damages.                                                                                                                                                                                                                                                                         EXHIBIT C I
~
~ 90592 (03/06)                                                                                                                                                                                                      2                         © 2006 American International Group, Inc. All rights reserved.                                                           PAGE 500                                                      §
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I2                                   This Definition is subject to the limitations set forth in Definition of loss.
                                                                                                                                                                                                                                                                                                                                                                                                                                                     ~
2                   (j)              "Denial of service attack" means an attack launched by a person(s) that sends an excessive volume of                                                                                                                                                                                                                                                                                                            :.
I
~
                                     electronic data to a computer system in order to deplete such computer system's capacity, and prevents
                                     those who are authorized to do so from gaining access to such computer system in a manner in which
                                                                                                                                                                                                                                                                                                                                                                                                                                                     2.~
                                                                                                                                                                                                                                                                                                                                                                                                                                                      s
I                                    they are legally entitled. Provided, however, depletion in your computer system's capacity shall not be                                                                                                                                                                                                                                                                                                         I
i                                    considered a denial of service attack if caused by a mistake in determining capacity needs.                                                                                                                                                                                                                                                                                                                      ~

"'I                 (k)              "Employee" means any past, present or future employee, including any part-time, seasonal and temporary                                                                                                                                                                                                                                                                                                           I.~
                                     employee, but only for wrongful acts committed in their capacity as such. Employee also includes any                                                                                                                                                                                                                                                                                                             '"
~                                    past, present or future leased worker, but only for wrongful acts committed in their capacity as such,                                                                                                                                                                                                                                                                                                          I
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                    (I)              "Extended reporting period" means whichever extended reporting period described in Paragraphs 9(a)
                                     through 9(c), if any, is applicable.
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                                                                                                                                                                                                                                                                                                                                                                                                                                                      ~
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'"                                                                                                                                                                                                                                                                                                                                                                                                                                                    5
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2
                     (m) "Failure(s) of security" means:                                                                                                                                                                                                                                                                                                                                                                                             I§


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1
2
                                      (1)


                                      (2)
                                                      the actual failure and inability of the security of your computer system to mitigate loss from or
                                                      prevent a computer attack; or
                                                      physical theft of hardware or firmware controlled by an organization (or components thereof) on
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I~



                                                                                                                                                                                                                                                                                                                                                                                                                                                      5
i                                                     which electronic data is stored, by a person other than an insured, from a premises occupied and                                                                                                                                                                                                                                                                                                ~
2                                                     controlled by an organization.                                                                                                                                                                                                                                                                                                                                                                  ~

~I-                                   "Failure of security" shall also include such actual failure and inability above, resulting from the theft of a
                                      password or access code from your .prernises, your computer system, or an officer, director or employee
                                                                                                                                                                                                                                                                                                                                                                                                                                                      §.~ "
                                                                                                                                                                                                                                                                                                                                                                                                                                                      ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                      ~
~                                     of the organization by non-electronic means in direct violation of an organization's specific written security                                                                                                                                                                                                                                                                                                  ~
~                                     policies or procedures.                                                                                                                                                                                                                                                                                                                                                                                         §
2                                                                                                                                                                                                                                                                                                                                                                                                                                                     ~
i~                   (n)              "First inception date" means, for each Coverage Module, the date set forth in Item 4 of the Declarations
                                                                                                                                                                                                                                                                                                                                                                                                                                                      ~
                                                                                                                                                                                                                                                                                                                                                                                                                                                      5
2                                     as the inception date of the first errors and omissions, professional, media or other liability policy that (i)                                                                                                                                                                                                                                                                                                 ~
~                                     provides or provided the same or essentially the same coverage as such Coverage Module and (ii) was                                                                                                                                                                                                                                                                                                             ~
I                                     issued by us or any other member company of American International Group, Inc. ("AIG") to the named                                                                                                                                                                                                                                                                                                             I
2                                     insured and continually renewed by us or any other AIG member company through the inception date of                                                                                                                                                                                                                                                                                                             ;,
~
~                                     this policy; or such other date specified in Item 4 of the Declarations as such.                                                                                                                                                                                                                                                                                                                                i
                                                                                                                                                                                                                                                                                                                                                                                                                                                      ?



~
 ~                   (0)              "Identity theft" means the misappropriation of personal identity information of customers or members that                                                                                                                                                                                                                                                                                                       g~
I                                     is stored on a computer system, including without limitation, social security numbers, account numbers,                                                                                                                                                                                                                                                                                                         I
 2                                    passwords, credit card numbers, addresses or phone numbers, and that has resulted in, or could                                                                                                                                                                                                                                                                                                                   ~
~                                     reasonably result in the wrongful or fraudulent use of such information.                                                                                                                                                                                                                                                                                                                                        ~
2                                                                                                                                                                                                                                                                                                                                                                                                                                                     @
~                    (p)              "Insured" means each (1) of you; and (2) additional insured.                                                                                                                                                                                                                                                                                                                                                     ~
 ~                                                                                                                                                                                                                                                                                                                                                                                                                                                     ~
i                    (q)              "Internet" means the worldwide public network of computers commonly known as the Internet, as it                                                                                                                                                                                                                                                                                                                 ~
~                                     currently exists or may be manifested in the future.                                                                                                                                                                                                                                                                                                                                                             ~


2
 2
 I..                 (r)              "Leased worker" means any person provided by an employment contractor or agency under an agreement
                                      between an organization and the employment contractor or agency to perform duties related to the
                                                                                                                                                                                                                                                                                                                                                                                                                                                      I~
                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,.
 ~                                    conduct of an organization's business.                                                                                                                                                                                                                                                                                                                                                                           ~
I                    (s)              "Loss" means the total sum of damages and claim expenses. "Claim expenses," "damages" and "loss"                                                                                                                                                                                                                                                                                                                I
12

 2
                                      shall not mean and this policy shall not cover: (1) compensation, benefits, overhead, charges or expenses ~
                                      of any insured or such insured's employees; (2) production costs or the cost of recall, reproduction,       ~
                                                                                                                                                                                                                                                                                                                                                                                                                                                      -:...§




i                                     reprinting or correction of material by any person or entity; (3) your cost of providing, correcting or re- ~
 ~
.                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                                      performing or completing any professional services; (4) any costs or expenses incurred by any person or     g
I                                     entity to withdraw or recall material, media, medium (including CD's, DVD's, cassettes and LP's),
                                      products (including products of others which incorporate your products) or professional services from thEt~ ~ .~_

I.

 ~
 ~
                                      marketplace, or from loss of use arising out of such withdrawal or recall;(~) civil or criminal fines or
                                      penalties imposed against you; (6) taxes imposed against you; (7) any amounts for which an insured is not
                                      financially liable or which are without legal recourse to an insured; (8) the costs and expenses of
                                      complying with any injunctive or other form of equitable relief; (9) the monetary value of any electronic ;>
                                                                                                                                                  :::

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 5
                                                                                                                                                                                                                                                                                                    EXHIBIT C g                                                                                                                                        ~

                                                                                                                                                                                                                                                         © 2006 American International Group, Inc. AllPAGE         501 "~
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 ~ 90592 (03/06)                                                                                                                                                                                                              3                                                                       rights reserved.
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                                                __                                                                                                                            ..                                                                                               ..                                                                                             u
                     Case 2:15-cv-02416-SVW-JPR Document 1-4 Filed 04/02/15 Page 6 of 79 Page ID #:502
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~                                                                                                                                                                                                                                                                                                      §
2                       fund transfer or transaction by an insured or on your behalf, which is lost or diminished during transfer                                                                                                                                                                      g
2
~                       into, out of or between an insured's accounts; (10) liquidated damages; and (11) matters which may be                                                                                                                                                                          g
                                                                                                                                                                                                                                                                                                       "


I                       deemed uninsurable under the law pursuant to which this policy shall be construed.                                                                                                                                                                                             I
I
2
             (t)        "Malicious code" means an unauthorized corrupting or harmful piece of code. Malicious code includes, ~
                                                                     •                                    . ! l
~                       but is not limited to, computer viruses, "Trojan horses," "worms," and "time or logic bombs."        5
~                                                                                                                                                                                                                                                                                                      5
~            (u)        "Management control" means: (1) owning interests representing more than fifty percent (50%) of the                                                                                                                                                                             I
I                       voting, appointment or designation power for the selection of a majority of: the Board of Directors of a                                                                                                                                                                       I
2                       corporation, the management committee members of a joint venture or partnership, or the members of the                                                                                                                                                                             ~
I                       management board of a limited liability company; or (2) having the right, pursuant to written contract or                                                                                                                                                                      g
~I                      the by-laws, charter, operating agreement or similar documents of an organization, to elect, appoint or                                                                                                                                                                        ~. ~: .
                        designate a majority of: the Board of Directors of a corporation, the management committee of a joint                                                                                                                                                                              ~
                        venture or partnership or the management board of a limited liability company.
~
I            (v)         "Named insured" means the entity listed as such in Item 1 of the Declarations.
                                                                                                                                                                                                                                                                                                           5
                                                                                                                                                                                                                                                                                                           g
~~           (w) "Organization" means (1) the named insured; and (2) each subsidiary.
                                                                                                                                                                                                                                                                                                       ~
                                                                                                                                                                                                                                                                                                       !l
~                                                                                                                                                                                                                                                                                                          ~
:;:1         (x)         "Policy limit of liability" means the aggregate limit of liability set forth as such in Item 3 of the                                                                                                                                                                         §
                                                                                                                                                                                                                                                                                                       §
                         Declarations.                                                                                                                                                                                                                                                                     5
                                                                                                                                                                                                                                                                                                           ~
                                                                                                                                                                                                                                                                                                       !"


II
             Iy)         "Policy period" means the period set lorth as such in Item 2 01 the Declarations.
             (z)         "Pollutants" means, but is not limited to, any solid, liquid, gaseous, biological, radiological or thermal                                                                                                                                                                        ;
                         irritant or contaminant, including smoke, vapor, dust, fibers, mold, spores, fungi, germs, soot, fumes,
                         acids, alkalis, chemicals and waste, "Waste" includes, but is not limited to, materials to be recycled,
                                                                                                                                                                                                                                                                                                           g
                                                                                                                                                                                                                                                                                                           '"
                         reconditioned or reclaimed and nuclear materials.                                                                                                                                                                                                                                 ~
~
~
              (aa) "Privacy policy" means statements in written or electronic form regarding the collection, dissemination or
                   treatment of information regarding customers, visitors to an Internet site, or other persons.
                                                                                                                                                                                                                                                                                                       i   ~
~                                                                                                                                                                                                                                                                                                          5
I
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I
              (bb) "Property damage" means (1) physical injury to or loss or destruction of tangible property including the
                   resulting loss of use thereof, and/or (2) loss of use of tangible property which has not been physically
                   injured or destroyed provided, however, for the purpose of this definition, "tangible property" shall not
                                                                                                                                                                                                                                                                                                       iag
~                  include electronic data.                                                                                                                                                                                                                                                                g
2                                                                                                                                                                                                                                                                                                          g
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              (cc) "Retroactive date" means the respective dates set forth in the Declarations as such for each Coverage
                           Module.
              (dd) "Security" means hardware, software or firmware whose function or purpose is to mitigate loss from or
                                                                                                                                                                                                                                                                                                       i   ~

                                                                                                                                                                                                                                                                                                           ~
il                  prevent a computer attack. Security includes, without limitation, firewalls, filters, DMZ's, computer virus                                                                                                                                                                            "
~~                  protection software, intrusion detection, the electronic use of passwords or similar identification of                                                                                                                                                                                 ~
                                                                                                                                                                                                                                                                                                           :.
2                                                                                                                                                                                                                                                                                                          5
~                   authorized users. Security also includes your specific written policies and procedures intended to directly                                                                                                                                                                            '"
I                   prevent the theft of a password or access code by non-electronic means.                                                                                                                                                                                                                i
~
I
              (ee) "Sublimit of liability" means each of the respective sublimits of liability set forth in Item 4 of the                                                                                                                                                                                  ~
                    Declarations as applicable to all loss covered under a specific Coverage Module purchased.                                                                                                                                                                                             ~
                                                                                                                                                                                                                                                                                                           ~
I
~
~
              (ff)       "Subsidiary" means:
                           (1) if "Blanket" has been checked in Item 1(b) of the Declarations, (a) any for-profit entity of which the
                               named insured has management control ("controlled entity") on or before the inception of the policy
                                                                                                                                                                                                                                                                                                           '"
                                                                                                                                                                                                                                                                                                           ~
                                                                                                                                                                                                                                                                                                           g
                                                                                                                                                                                                                                                                                                           ~
~                              period either directly or indirectly through one or more other controlled entities; and (b) any not-for-                                                                                                                                                                    ~
~                              profit entity under section 501 (c)(3) of the Internal Revenue Code of 1986 (as amended) sponsored                                                                                                                                                                          ~
~                                                                                                                                                                                                                                                                                                          ~
I
~
                               exclusively by an organization; or
                           (2) otherwise, the entities listed as such on an endorsement to this policy.
                                                    .
                                                                                                                                                                                                                                                                                                           ~
                                                                                                                                                                                                                                                                                                           ~
~             (gg) "Suit" means a civil proceeding for monetary, non-monetary or injunctive relief which is commenced by     ~
~                  service of a complaint or similar pleading. "Suit" shall also include a binding arbitration proceedingi~~·~
I                  which damages are alleged and to which an insured must submit or does submit with our prior written I"'
2                  consent.
~                                                                                                                                                                                                                                                                                                          5
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                                                                                                                                                                                                                                                    EXHIBIT C ~
I                                                                                                                                                                                                                                                   PAGE 502
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l~:~~~l~~:~C~~~UWC1.",~""""l1WUU",lWWltiUliuuwwun,m1.1..H1.1.1.U1.""1.~1.1.=~1.=1.1.~~1."~=1.~~~~1.~:::~~~::~::::::1.:~~~~~~~~~:~:~~~~::":::::,":~~="J
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~nl1nnnrrnrmr'ul.n.rm

~                                                                                                                                                                                                                                                                                                                           "
~         (hh)          "Trade secret" means information (including any idea) that has been reduced to a written or electronic                                                                                                                                                                                               ~

I
~                       form, including a formula, compilation, pattern, program, device, method, process, or technique which:                                                                                                                                                                                              ~
                        (1) derives independent economic value, actual or potential, from not being generally known and not                                                                                                                                                                                                  ~
~                       being readily ascertainable through proper means by other persons who can obtain economic advantage                                                                                                                                                                                                 I
~                       from its disclosure or use; (2) is the subject of reasonable efforts to maintain its secrecy; and (3) is used,                                                                                                                                                                                       1]
~                       capable of being used, or intended to be used in commerce.                                                                                                                                                                                                                                           ~

2~        (ii)          "Transaction" means a transaction defined as such in Paragraph 10(a) of this BASE Section.
                                                                                                                                                                                                                                                                                                                             m
                                                                                                                                                                                                                                                                                                                             ,.
i
5         (jj)          "Unauthorized access" means the gaining of access to a computer system by an unauthorized person or                                                                                                                                                                                                  ~5
~                       persons.                                                                                                                                                                                                                                                                                             g
I~        (kk)          "Unauthorized use" means the use of a computer system by an unauthorized person or persons or an
                                                                                                                                                                                                                                                                                                                             "~
~                                                                                                                                                                                                                                                                                                                            5
~                       authorized person or persons in an unauthorized manner.                                                                                                                                                                                                                                              ~

~         (II)          "We," "us," "insurer" and "our" mean the insurer named in Item 7 of the Declarations.                                                                                                                                                                                                                ~
~
2         (mm) "Wrongful act" means the acts, errors or omissions defined as such in the Coverage Modules of this                                                                                                                                                                                                            i"
~
2
               policy.                                                                                                                                                                                                                                                                                                       1]
                                                                                                                                                                                                                                                                                                                             §:
~         (nn) "You" or "your" mean each and every (1) organization and (2) employee of an organization.                                                                                                                                                                                                                     ~
I2        (00) "Your computer system" means a computer system under the ownership, operation or control of an
                                                                                                                                                                                                                                                                                                                             ~
                                                                                                                                                                                                                                                                                                                             ~
 i                 organization.                                                                                                                                                                                                                                                                                             ~

I
2 4. EXCLUSIONS                                                                                                                                                                                                                                                                                                              !~
                                                                                                                                                                                                                                                                                                                             ~
~           This policy does not cover any claim:                                                                                                                                                                                                                                                                            ~
I                                                                                                                                                                                                                                                                                                                            ~
                                                                                                                                                                                                                                                                                                                             g
I
2

~
            (a) alleging, arising out of or resulting, directly or indirectly, from any dishonest, fraudulent, criminal or
                malicious act, error or omission, or any intentional or knowing violation of the law or of your privacy
                policy, or gaining of any profit or advantage to which you or any additional insured is not legally entitled, if
                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                             ~
~               any of the aforementioned is committed by any of your or any additional insured's:                                                                                                                                                                                                                           5
~                                                                                                                                                                                                                                                                                                                            5
~                  (1) directors, officers, trustees, governors, management committee members, members of the                                                                                                                                                                                                                1]
~                                                                                                                                                                                                                                                                                                                            5
::                     management board or partners (or the equivalent positions), whether acting alone or in collusion with                                                                                                                                                                                                 5
~~                     other persons; or                                                                                                                                                                                                                                                                                     §
                                                                                                                                                                                                                                                                                                                             :;
~                                                                                                                                                                                                                                                                                                                            ~
~                  (2) employees (other than those referenced in sub-paragraph 4.(a)(1) above) or independent contractors                                                                                                                                                                                                    g
~                           employed by you or any additional insured if any of those referenced in sub-paragraph 4.(a)( 1) above                                                                                                                                                                                            ~
I
2
                            possessed, at any time, knowledge of any dishonest, fraudulent, malicious, or criminal acts committed                                                                                                                                                                                            ~
                                                                                                                                                                                                                                                                                                                             §:
:1!                         by such employee or independent contractor that caused a direct loss to an insured or any other                                                                                                                                                                                                  g
~                           person;                                                                                                                                                                                                                                                                                          ~
~                                                                                                                                                                                                                                                                                                                            ~
:1!         (b) alleging, arising out of or resulting, directly or indirectly, from any:                                                                                                                                                                                                                                     ~
2~                                                                                                                                                                                                                                                                                                                           S
                                                                                                                                                                                                                                                                                                                             'a
:1!                (1) purchase, sale, offer of or solicitation of an offer to purchase or sell securities, or violation of any      ~
I                      securities law, including provisions of the Securities Act of 1933, or the Securities Exchange Act of                                                                                                                                                                                                 i
~                      1934, as amended;                                                                                             ~
~
2                  (2) violation of the Organized Crime Control Act of 1970 (commonly known as "Racketeer Influenced
                                                                                                                                    5!l
i                      And Corrupt Organizations Act" or "RICO"), as amended;                                                        ~
I~                 (3) breach of fiduciary duty, responsibility, or obligation in connection with any employee benefit or !l
                                                                                                                                     ~
~                      pension plan, including violation of the responsibilities, obligations or duties imposed upon fiduciaries by ea
~                      the Employee Retirement Income Security Act of 1974 as amended;                                               ~
~~                 (4) antitrust violations, restraint of trade, or unfair competition, or violations of the Sherman Act, the ~
                                                                                                                                    g
~                      Clayton Act or the Robinson-Patman Act, as amended;                                                           ~
~                  (5) regulation promulgated under the foregoing laws; or                                                           ~
~                  (6) any federal, state, local or foreign laws (a) similar to the foregoing laws (including "Blue Sky" laws) or §
I2                     (b) regulating the same or similar conduct or services, whether such law is statutory, regulatory -o~J
2                      common Iaw;                                                                                                - 55
I
~
            (c) alleging, arising out of or resulting, directly or indirectly, from any employment practices or any
                discrimination against any person or entity on any basis, including but not limited to: race, creed, color,
                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                             ~
~
~
                religion, ethnic background, national origin, age, handicap, disability, sex, sexual orientation or pregnancy;                                                                                                                                              EXHIBIT C ~g
~
                                                                                                                                                                                                                                                                            PAGE 503 ~
L~~~~~"~~::~~~U~l1WUL"'""~1ltiUL~1ltiL"l1~1lUWL~"~W1;U%~~nH',"'''""'~",,~~""~~""'"~,,~"~~~:~~:=~~~::,,~::::~~~"~~:~:"~~~~~"":~~~:~~:,.:::::":~~~~"~J
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~
~               (d) alleging, arising out of or resulting, directly or indirectly, from any (1) presence of pollutants, (2) the actual                                                                                                                                                                                                                                                              I2


~                   or threatened discharge, dispersal, release or escape of pollutants, or (3) direction or request to test for,                                                                                                                                                                                                                                                                    ~
~                   monitor, clean up, remove, contain, treat, detoxify or neutralize pollutants, or in any way respond to or                                                                                                                                                                                                                                                                        ~
~                   assess the effects of pollutants;                                                                                                                                                                                                                                                                                                                                                ;
I
~
                (e) alleging, arising out of or resulting, directly or indirectly, from any infringement of any patent, copyright,
                    trademark, trade dress, trade name, or service mark;
                                                                                                                                                                                                                                                                                                                                                                                                    i"
~~              (f) alleging, arising out of or resulting, directly or indirectly, from any misappropriation of any trade secret by,                                                                                                                                                                                                                                                                 g~
:i!                 or with active cooperation, participation, or assistance of, any insured, any of your former employees,                                                                                                                                                                                                                                                                          ~
~                   subsidiaries, directors, officers, partners, trustees, or any of your successors or assignees;                                                                                                                                                                                                                                                                                   ~
~                                                                                                                                                                                                                                                                                                                                                                                                    ?
:i!             (g) alleging, arising out of or resulting, directly or indirectly, from any:                                                                                                                                                                                                                                                                                                         ~
:i!                                                                                                                                                                                                                                                                                                                                                                                                  §
~                   (1) false arrest, detention or imprisonment;                                                                                                                                                                                                                                                                                                                                     ~
                                                                                                                                                                                                                                                                                                                                                                                                     e
I
~


~
                    (2) libel, slander or defamation of character;
                    (3) wrongful entry or eviction of any physical premises; or,
                    (4) malicious prosecution;
                                                                                                                                                                                                                                                                                                                                                                                                     ~
                                                                                                                                                                                                                                                                                                                                                                                                     ~
~                                                                                                                                                                                                                                                                                                                                                                                                    ~
I                (h) alleging, arising out of or resulting, directly or indirectly, from any (1) false or deceptive advertising or                                                                                                                                                                                                                                                                   ~
~                    misrepresentation in advertising of your products or services, or (2) unfair competition based on such                                                                                                                                                                                                                                                                          gg
~
~                    advertising, including, but not limited to, advertising related violations of any local, state or federal                                                                                                                                                                                                                                                                       1:1
2~                   consumer protection or privacy laws;                                                                                                                                                                                                                                                                                                                                            ~"
~
~                (i)       against you that is brought by or on behalf of:                                                                                                                                                                                                                                                                                                                           i~
~                                                                                                                                                                                                                                                                                                                                                                                                    §
~                         (1)         the Federal Trade Commission ("FTC"), the Department of Health and Human Services ("HHS"), the                                                                                                                                                                                                                                                                 ~
~                                     Office of Civil Rights ("OCR"), the Federal Communications Commission ("FCC") or any other federal,                                                                                                                                                                                                                                                            ~
~                                     state or local government agency, or foreign government agency; or                                                                                                                                                                                                                                                                                             d
~
~                         (2)         the American Society of Composers, Authors and Publishers, the Society of European Stage Authors
                                                                                                                                                                                                                                                                                                                                                                                                     g
                                                                                                                                                                                                                                                                                                                                                                                                     •
~                                                                                                                                                                                                                                                                                                                                                                                                    §:
~                                     and Composers, Broadcast Music, Inc., or any other licensing or rights organizations in such entity's                                                                                                                                                                                                                                                          ~
~                                     regulatory, quasi-regulatory or official capacity, functions or duties;                                                                                                                                                                                                                                                                                        §
~                                                                                                                                                                                                                                                                                                                                                                                                     ~
~~               (j)      alleging, arising out of or resulting, directly or indirectly, from any bodily injury or property damage;                                                                                                                                                                                                                                                                  ~~
~
~                (k) alleging, arising out of or resulting, directly or indirectly, from facts alleged, or to the same wrongful acts,                                                                                                                                                                                                                                                                I~
~                    or series of continuous, repeated or related wrongful acts alleged or contained in any claim which has                                                                                                                                                                                                                                                                           ~
~                                                                                                                                                                                                                                                                                                                                                                                                     5
:;                   been reported, or in any circumstances of which notice has been given, under any policy of which this                                                                                                                                                                                                                                                                            ~
~                    policy is a renewal or replacement or which it may succeed in time;                                                                                                                                                                                                                                                                                                             ~
2                                                                                                                                                                                                                                                                                                                                                                                                     §
~                (I)      alleging, arising out of or resulting, directly or indirectly, from any failure of security, wrongful act,                                                                                                                                                                                                                                                                 §
I                         circumstance or event committed, omitted or occurring prior to the first inception date if on or before the                                                                                                                                                                                                                                                                ~
~                         first inception date, you knew or could have reasonably foreseen that such wrongful act, circumstance or                                                                                                                                                                                                                                                                   i
I                         event could give rise to a claim against an insured or loss;                                                                                                                                                                                                                                                                                                                ~
~                                                                                                                                                                                                                                                                                                                                                                                                     §
:i!              (m) alleging, arising out of or resulting, directly or indirectly, from, as of the first inception date, any pending                                                                                                                                                                                                                                                                 g
~                    or prior: (1) claim, demand, suit, arbitration, mediation or litigation, or (2) administrative, bankruptcy or                                                                                                                                                                                                                                                                    g
2                                                                                                                                                                                                                                                                                                                                                                                                     §
2                    regulatory proceeding or investigation, of which you had notice, or alleging or derived from the same or                                                                                                                                                                                                                                                                         §
~                    essentially the same facts as alleged in such pending or prior claim, demand, suit, arbitration, mediation or                                                                                                                                                                                                                                                                    g
~~                   litigation or administrative, bankruptcy or regulatory proceeding or investigation;                                                                                                                                                                                                                                                                                              §~
?
~                (n) alleging, arising out of or resulting, directly or indirectly, from any failure of security, wrongful act or loss,
                                                                                                                                                                                                                                                                                                                                                                                                      s§
~                    based upon, relating to or in connection with any act, error or omission, occurring, committed or omitted                                                                                                                                                                                                                                                                         €
~                                                                                                                                                                                                                                                                                                                                                                                                     ~
2                    prior to the applicable retroactive date;                                                                                                                                                                                                                                                                                                                                        g
i                (0) alleging, arising out of or resulting, directly or indirectly, from any liability or obligation under any contract                                                                                                                                                                                                                                                               ~
I
~
                     or agreement or out of any breach of contract; however, this exclusion does not apply to any liability or
                     obligation an insured would have in the absence of such contract or agreement;
                                                                                                                                                                                                                                                                                                                                                                                                     I
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~                                                                                                                                                                                                                                                                                                                                                                                                     ~
~                                                                                                                                                                                                                                                                                                                                                                                    --i
~                (p) alleging, arising out of or resulting, directly or indirectly, from any quarantee or express                                                                                                                                                                                                                                             warrantvr.                              g
~                    inaccurate, inadequate, or incomplete description of the price of goods, products or services; or                                                                                                                                                                                                                                     any failure                                ~
~                    of goods, products or services to conform with an advertised quality or performance; or                                                                                                                                                                                                                                                liquidated                                ~
~                                                                                                                                                                                                                                                                                                                                                                                                     ~
                                                                                                                                                                                                                                                                    EXHIBIT C
                     damages; or the collection of or seeking the return of fees or royalties or other compensation                                                                                                                                                                                                                                        paid to an
~                                                                                                                                                                                                                                                                                                                                                                                                     ~
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~ 90592 (03/06)
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                                                                                                                                                                                                      l'l<~"1..rul1t;1.~L:.',l1.tL1.n.l'L1.'1,,;"t;".i1.~1..1.,\'l.'.ll!LlU1ll.;·umi't!L.~.n.n.l"1.I.""'1l.:, '1.,:;1!I.l"L:"1..ll1L~l"L1J1Z1"L';1,'1. '-1.-'t."1.;1.:"'l' t."Ll.' '.~1; ' 1.§1l1.l1Jl.n.rB
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f!                                                                                                                                                                                                                                                                                                                                                                                                                           5
~                                 insured; or your cost of providing, correcting or re-performing or completing any services; or any insured's                                                                                                                                                                                                                                                                               ~
                                                                                                                                                                                                                                                                                                                                                                                                                             g
I                                 fees, cost or profit guarantees, cost representations, contract price, or estimates of probable costs or cost
                                                                                                                                                                                                                                                                                                                                                                                                                             ~
I
~
                                  estimates being exceeded;
                      (q) alleging, arising out of or resulting, directly or indirectly, from any satellite failure;
                      (r) against an insured that is brought, directly or indirectly, by or on behalf of:
                                                                                                                                                                                                                                                                                                                                                                                                                             i.


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2
I.                                 (1) any of you, provided, however, this sub-paragraph (1) shall not apply to any otherwise covered claim
                                                                                                                                                                                                                                                                                                                                                                                                                             za
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                                                                                                                                                                                                                                                                                                                                                                                                                             g
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~
                                       made by any past, present or future employee or leased worker of the named insured or subsidiary for
                                       a wrongful act, but only if such employee or leased worker did not commit, participate in or contribute                                                                                                                                                                                                                                                                               ~
~                                      to such wrongful actts), or failure of security;                                                                                                                                                                                                                                                                                                                                      5

1
2                                  (2) any business entity that is controlled, managed or operated, directly or indirectly, in whole or in part,                                                                                                                                                                                                                                                                             ~.
                                                                                                                                                                                                                                                                                                                                                                                                                             ~

~~                                  3) by you;
                                   (any         or, company, su b Sl'd'rarv, d'rrector, 0 ffrcer, partner, trustee, successor or assignee
                                           parent                                                                                   ionee of
                                                                                                                                          0 yours, or
                                                                                                                                                                                                                                                                                                                                                                                                                             I.
                                                                                                                                                                                                                                                                                                                                                                                                                             s
I                                      any person or entity affiliated with you or such business entity through common majority ownership or                                                                                                                                                                                                                                                                                 ~
~                                      control;                                                                                                                                                                                                                                                                                                                                                                              ~
If!                   (s) alleging, arising out of or resulting, directly or indirectly, from:                                                                                                                                                                                                                                                                                                                               ~~
~                                  (1) fire, smoke, explosion, lightning, wind, water, flood, earthquake, volcanic eruption, tidal wave,                                                                                                                                                                                                                                                                                     ~
~I                                     landslide, hail, act of God or any other physical event, however caused;                                                                                                                                                                                                                                                                                                              ~.
                                   (2) strikes or similar labor action, war, invasion, act of foreign enemy, hostilities or warlike operations                                                                                                                                                                                                                                                                               g
                                       (whether declared or not), civil war, mutiny, civil commotion assuming the proportions of or amounting                                                                                                                                                                                                                                                                                ~
                                       t o a popular rising, military rising, insurrection, rebellion, revolution, military or usurped power, or any



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                                                                                                                                                                                                                                                                                                                                                                                                                             ·.1.::


                                       action taken to hinder or defend against these actions;                                                                                                                                                                                                                                                                                                                               ~
                                   (3) electrical or mechanical failures, including any electrical power interruption, surge, brownout or                                                                                                                                                                                                                                                                                    5
                                       blackout; provided, however, this Subparagraph 4s(3) shall not apply to electrical or mechanical                                                                                                                                                                                                                                                                                      ~
~                                      failures, other than satellite failures, where such failure was the result of your wrongful act; or,                                                                                                                                                                                                                                                                                  ~
~                                                                                                                                                                                                                                                                                                                                                                                                                             5
..                                 (4) any failure of telephone lines, data transmission lines or other infrastructure comprising or supporting                                                                                                                                                                                                                                                                              §
~~                                     the Internet, unless such lines or infrastructure were under your operational control;                                                                                                                                                                                                                                                                                                "'~
5                                                                                                                                                                                                                                                                                                                                                                                                                             ~
f!                    (t)          alleging, arising out of or resulting, directly or indirectly, from any of the following:                                                                                                                                                                                                                                                                                                  5
~
I                                   (1) any shortcoming in security that you knew about prior to the inception of this policy;                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                             5

I                                   (2) your failure to take reasonable steps, to use, design, maintain and upgrade your security; or                                                                                                                                                                                                                                                                                         5
I
~
                                    (3) the inability to use, or lack of performance of, software: (a) due to expiration, cancellation, or
                                        withdrawal of such software; (b) that has not yet been released from its development stage; or (c)
                                                                                                                                                                                                                                                                                                                                                                                                                             I~
~                                       that has not passed all test runs or proven successful in applicable daily operations                                                                                                                                                                                                                                                                                                 §
Ii       5.           LIMIT OF LIABILITY (FOR ALL LOSS-INCLUDING CLAIM EXPENSES)                                                                                                                                                                                                                                                                                                                                             I~

I                     (a) General                                                                                                                                                                                                                                                                                                                                                                                            I
~                                   (1)
         The aggregate policy limit of liability set forth in the Declarations is the most we will pay as loss $
~~       under this policy, in the aggregate, for all coverages combined, regardless of the number of persons, 5~
i1       occurrences, claims or entities covered by this policy, or claimants or claims brought against any ~
~        insured.                                                                                                      g
if!~ (2) Each sublimit of liability set forth in the Declarations as applicable to a specific Coverage Module is       ~
                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                              §.




~        the most we shall pay under this policy as loss in respect of such Coverage Module regardless of the
~        number of persons, occurrences, claims or entities covered by this policy, or claimants or claims                                                                                                                                                                                                                                                                                                                   I
~        brought against any insured. If two or more Coverage Modules apply to loss and the amount of the ~
?        sublimits of liability differ, the most we will pay for loss covered by any single Coverage Module is the g
I        sublimit of liability applicable to that Coverage Module. In any event the highest applicable sublimit of ~
~
2 -
         liability shall be our maximum limit of liability for all loss from such claim. Each sublimit of liability is
                                                                                                                       "
                                                                                                                                                                                                                                                                                                                                                                                                                              ~
~        part of and subject to the policy limit of liability. Loss arising out of the same wrongful acts, or a ~
i        series of continuous, repeated or related wrongful acts shall be deemed to arise from the first sudi~·-·i
i        wrongful act.                                                                                                 ~
~    (3) The policy limit of liability and sublimits of liability for any extended reporting period shall be part of ~
~        and not in addition to the policy limit of liability and respective sublimits of liability for the policy ~
5
~                                                  period.                                                                                                                                                                                                                           EXHIBIT C                                                                                                                               I,~




                                                                                                                                                                                                                                          © 2006 American International Group, Inc. AllPAGE         505
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~                                                                                                                                                                                                                                                                                                                                                                                                                              5
I                                  (4)             Further, each and every claim made subsequent to the policy period or an applicable extended                                                                                                                                                                                                                                                                                I
2                                                  reporting period, that pursuant to Paragraph 7(b) is considered made during the policy period or an                                                                                                                                                                                                                                                                         ~
                                                                                                                                                                                                                                                                                                                                                                                                                               ~
1
2

~                                  (5)
                                                   extended reporting period, shall also be subject to the same policy limit of liability and respective
                                                   sublimits of liability afforded to claims first made and reported during the policy period.
                                                   Damages, claim expenses and loss are all part of and subject to the policy limit of liability, and the
                                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                               ~
I                                                  sublimits of liability.                                                                                                                                                                                                                                                                                                                                                     ~
                                                                                                                                                                                                                                                                                                                                                                                                                               ~~
        6.            RETENTION
I.~                   (a) Retention: For each claim, the insurer shall only be liable for the amount of loss arising from such claim
                                                                                                                                                                                                                                                                                                                                                                                                                               2
                                                                                                                                                                                                                                                                                                                                                                                                                               ~
                                                                                                                                                                                                                                                                                                                                                                                                                               I
II
~                         that exceeds the Retention amount applicable to any Coverage Module affording coverage to such claim.
                          Such Retention amounts must be borne by the insureds and remain uninsured with regard to all loss. In                                                                                                                                                                                                                                                                                                ~
                          the event a claim triggers more than one Retention amount, then, as to that claim, the highest of such                                                                                                                                                                                                                                                                                               g
                                                                                                                                                                                                                                                                                                                                                                                                                               s

                          Retention amounts shall be deemed the Retention amount applicable to loss arising from such claim. A                                                                                                                                                                                                                                                                                                 ~
~                         single Retention amount shall apply to loss arising from all claims alleging the same wrongful acts, or                                                                                                                                                                                                                                                                                              ~
!                         series of continuous, repeated or related wrongful acts.                                                                                                                                                                                                                                                                                                                                             I
!
~
2
         7.           NOTICE AND AUTHORITY
                                                                                                                                                                                                                                                                                                                                                                                                                               5
                                                                                                                                                                                                                                                                                                                                                                                                                               §
                                                                                                                                                                                                                                                                                                                                                                                                                               ~
~
~
                      (a) Generally: Notice in connection with this policy shall be given in writing to us (i) in the case of claims, as
                          provided in Paragraph 7(b) and Oi) in all other cases, at 175 Water Street, New York, New York c/o AIG
                                                                                                                                                                                                                                                                                                                                                                                                                               I_
~                         Domestic Claims, Inc., the Financial Lines Division. The named insured shall act on behalf of each and                                                                                                                                                                                                                                                                                               g
                                                                                                                                                                                                                                                                                                                                                                                                                               ~.!.
II                        every insured with respect to the giving and receiving of any notice under this policy, including, but not
                          limited to, notice of a claim and notice of cancellation. If mailed, the date of mailing shall constitute the
                          date that such notice or information was given and proof of mailing shall be sufficient proof of notice.
                                                                                                                                                                                                                                                                                                                                                                                                                               ::
                                                                                                                                                                                                                                                                                                                                                                                                                                ~
                                                                                                                                                                                                                                                                                                                                                                                                                               I
II                    (b) Clain7s:
                                    (1)            With respect to claims or circumstances, notice and all other information and documentation required
                                                   to be provided under this policy should be directed to us at the address indicated in Subparagraph
                                                                                                                                                                                                                                                                                                                                                                                                                               ~
                                                                                                                                                                                                                                                                                                                                                                                                                                5

                                                                                                                                                                                                                                                                                                                                                                                                                                ~
~                                                  7(a) above. To be effective, such notice must reference this policy.                                                                                                                                                                                                                                                                                                         ~




II
~                                   (2)             For any and all coverage under this policy afforded on a claims first made and reported basis:                                                                                                                                                                                                                                                                             I
                                                    (a)                  before coverage will apply, an insured must notify us in writing of a claim made against an                                                                                                                                                                                                                                                           !~
~                                                                        insured as soon as practicable, but in all events no later than the end of the policy period or any                                                                                                                                                                                                                                                    s
                                                                         applicable extended reporting period;                                                                                                                                                                                                                                                                                                                  ~
                                                                                                                                                                                                                                                                                                                                                                                                                                ~
I
2
                                                    (b)                  if an insured has notified us in writing of a claim pursuant to Subparagraph 7(b)(2)(a) above,
                                                                         then any claim which is subsequently made against an insured and reported to the insurer
                                                                         alleging, arising out of, based upon or attributable to the facts alleged in the claim for which
                                                                         such notice has been given, or alleging any wrongful act which is the same as or related to any
                                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                                ~
                                                                                                                                                                                                                                                                                                                                                                                                                                g
                                                                         wrongful act alleged in the claim of which such notice has been given, shall be considered                                                                                                                                                                                                                                                             ~
                                                                                                                                                                                                                                                                                                                                                                                                                                ~-
1
~                                                   (c)
                                                                         related to the first claim and made at the time such notice was given; and
                                                                         if during the policy period or during an applicable extended reporting period an insured shall                                                                                                                                                                                                                                                        I
~                                                                        become aware of any circumstances which may reasonably be expected to give rise to a claim                                                                                                                                                                                                                                                             ~
~                                                                        being made against an insured for a wrongful act that occurs prior to the end of the policy                                                                                                                                                                                                                                                            ~



!
~                                                                        period, and, during the policy period or any applicable extended reporting period, an insured                                                                                                                                                                                                                                                          ~
                                                                                                                                                                                                                                                                                                                                                                                                                                §
                                                                         gives written notice to us of 0) such circumstances, (ll) the wrongful acts allegations                                                                                                                                                                                                                                                                ?
                                                                         anticipated and (iii) the reasons for anticipating such a claim, with full particulars as to dates,                                                                                                                                                                                                                                                    ~
2                                                                        persons and entities involved, then any claim that is subsequently made against an insured                                                                                                                                                                                                                                                            I
~                                                                        arising out of such wrongful act or the same wrongful act or series of continuous, repeated or                                                                                                                                                                                                                                                         ~
2                                                                                                                                                                                                                                                                                                                                                                                                                               §
~                                                                        related wrongful acts, shall be treated as a claim made against such insured and reported to us                                                                                                                                                                                                                                                        ~
I                                                                        at the time such notice of such circumstances was given.                                                                                                                                                                                                                                                                                               ~


lI
~                                   (3)             For any and all coverage under this policy afforded on an occurrence basis, you must notify us in                                                                                                                                                                                                                                                                           ~.
                                                                                                                                                                                                                                                                                                                                                                                                                                ;
                                                    writing of any claim against you as soon as practicable.                                                                                                                                                                                                                                                                                                                    §
                                                                                                                                                                                                                                                                                                                                                                                                                                S

         8. WHAT YOU MUST 00 IN THE EVENT OF A                                                                                                                                  CLAIM·~                                                                                                                                                                                                                                        I
~                                                                                                                                                                                                                                                                                                                                                                                                                               ~
I                      (a) In addition to providing notice as required in this policy, with respect to all coverages under this policy,
                           each and every insured must also:
                                                                                                                                                                                                                                                                                       EXHIBIT C
                                                                                                                                                                                                                                                                                                                                                                                                                               I
I        90592 (03/06)                                                                                                                                                                                           8                          © 2006 American International Group, Inc. AllPAGE         506
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I                                  (1) send us copies of all demands, suit papers, other legal documents and invoices for claim expenses                                                                                                                                                                                                                                                                                ~
?                                      received by such insured, as soon as practicable;                                                                                                                                                                                                                                                                                                                               ~
I                                  (2) immediately record the specifics of any claim and the date such insured first received such claim;                                                                                                                                                                                                                                                                              ~
~                                  (3) take prompt and reasonable steps to minimize the loss and take reasonable steps to prevent further                                                                                                                                                                                                                                                                              g
                                                                                                                                                                                                                                                                                                                                                                                                                        ~

II
                                       loss;
                                   (4) at our request, report such loss to the Federal Bureau of Investigation (FBI), a computer emergency                                                                                                                                                                                                                                                                              ~
                                       res.ponse. te~m (CERT.), i~forma~ion sharing an~ analysis center (ISAC) or any other central reporting                                                                                                                                                                                                                                                                          I
?                                      or investigative organization which we may designate;                                                                                                                                                                                                                                                                                                                            ~
                                   (5) upon our request, furnish to us any and all documentation within such insured's possession; and                                                                                                                                                                                                                                                                                  ~
?                                  (6) give us and any counsel we select to represent an insured in connection with a suit or to investigate                                                                                                                                                                                                                                                                            ~
i                                      any claim, full cooperation and such information as we or such counsel may reasonably -require,                                                                                                                                                                                                                                                                                  ~
~                                      including, but not limited to, assisting us or such counsel in:                                                                                                                                                                                                                                                                                                                  !l
                                                                                                                                                                                                                                                                                                                                                                                                                        ~

I
                                       (a)    any investigation of a claim, loss or other matter relating to the coverage afforded under this
                                              policy (including submission to an examination by us or our designee, under oath if required by                                                                                                                                                                                                                                                                           ~
                                              us);                                                                                                                                                                                                                                                                                                                                                                      ~
                                                                                                                                                                                                                                                                                                                                                                                                                        ~
I                                      (b)
                                       (c)
                                              making settlements;
                                              enforcing any legal rights you or we may have against any person or entity who may be liable                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                                                                                                                        ~


I
                                              to you;
                                        (d)   attending depositions, hearings and trials;                                                                                                                                                                                                                                                                                                                               ~
                                       (e)    securing and giving evidence, and obtaining the attendance of witnesses; and                                                                                                                                                                                                                                                                                              ~
                                        (f)   any inspection or survey conducted by us.                                                                                                                                                                                                                                                                                                                                 ~
                                                                                                                                                                                                                                                                                                                                                                                                                        5
                      (b) No insured shall admit any liability, assume any financial obligation or pay any money in connection with                                                                                                                                                                                                                                                                                     ~
                          any claim without our prior consent. If any insured does, it will be at such insured's own expense. The                                                                                                                                                                                                                                                                                       ~
                          foregoing sentences of this Paragraph B(b) shall not apply to a settlement pursuant to Coverage B(4) of                                                                                                                                                                                                                                                                                       I
                          this policy so long as such insured provides us written notice of such settlement as soon as practicable,                                                                                                                                                                                                                                                                                     ~
                          but in no case later than thirty (30) days after such settlement is reached in principle.                                                                                                                                                                                                                                                                                                     ~
I
~                      (c) In all events, no insured shall take any action, or fail to take any required action, without our written
                                                                                                                                                                                                                                                                                                                                                                                                                        ~
                                                                                                                                                                                                                                                                                                                                                                                                                        §
~                          consent, which prejudices our rights under this policy.                                                                                                                                                                                                                                                                                                                                      ~
~                                                                                                                                                                                                                                                                                                                                                                                                                       ~
I        9.            EXTENDED REPORTING PERIOD                                                                                                                                                                                                                                                                                                                                                                        I
~                     The following provisions are applicable solely to claims first made and reported coverages of this policy:                                                                                                                                                                                                                                                                                         ~
~~                     (a) Automatic Extended Reporting Period: If the named insured or the insurer shall refuse to renew this                                                                                                                                                                                                                                                                                          !s
                                                                                                                                                                                                                                                                                                                                                                                                                         ~
I                          policy, the named insured shall have the right following the effective date of such nonrenewal to a period
                           of sixty (60) days (the "automatic extended reporting period") in which to give written notice to us of                                                                                                                                                                                                                                                                                      5
                                                                                                                                                                                                                                                                                                                                                                                                                        I
I
                           claims first made against an insured during the automatic extended reporting period for any wrongful act
                           committed prior to the end of the policy period and otherwise covered by this policy. The automatic                                                                                                                                                                                                                                                                                          §
                           extended reporting period shall not apply where an extended reporting period has been purchased or to                                                                                                                                                                                                                                                                                        5
~                          claims that are covered under any subsequent insurance you purchase or that is purchased for your                                                                                                                                                                                                                                                                                            I
~                                                                                                                                                                                                                                                                                                                                                                                                                       g

l
                           benefit, or that would be covered, but for the exhaustion of the amount of insurance applicable to such
                           claims or that is within any applicable Retention amount.                                                                                                                                                                                                                                                                                                                                     ~
                       (b) Optional Extended Reporting Period: Except as indicated below, if the named insured shall cancel or we or
                                                                                                                                                                                                                                                                                                                                                                                                                         ~5:
;;j                        the named insured refuse to renew this policy, the named insured shall have the right to a period of up to ~
 ~                                                                                                                                          ;.
~                          three years following the effective date of such cancellation or nonrenewal (an "extended reporting g
                                                                                                                                                                                                                                                                                                                                                                                                                        I
I:I:                       period"), upon payment of an additional premium amount of up to two hundred percent (200%) of the full
                           annual premium, in which to give to us written notice pursuant to Subparagraph 7(b)(2)(a) of the policy of                                                                                                                                                                                                                                                                                   I
 ~
 ~
 :I:
                           claims (1) first made against an insured during said extended reporting period and (2) solely with respect ..
                           to a wrongful act committed prior to the end of the policy period and otherwise covered by this policy. If
                           the named insured exercises its right to purchase an extended reporting period, that period incepts at the        ~
                                                                                                                                                                                                                                                                                                                                                                                                                        I
 ~~                        end of the policy period and there shall be no automatic extended reporting period.                              ~¥l
 ~                                      -                                                                                                   I
 ~                         As used herein, "full annual premium" means the premium level in effect immediately prior to the end ?L_~
 i                         the policy period.                                                                                       -::-=-_ ~

I..                    (c) Transaction Triggered Extended Reporting Period: In the event of a transaction (see Paragraph 1O(a)), the                                                                                                                                                                                                                                                                                     "~
 ~
I                          named insured shall have the right to request an offer from us of an extended reporting period (solely with
                           respect to pre-transaction wrongful acts). Upon our receipt of such a request, we shall offer such
                                                                                                                                                                                                                                                                                                                                                            EXHIBIT C I
                                                                                                                                                                                                                                                                                                                                                                                                                         ;>




 ~                                                                                                                                                                                                                                                                                                                                                                                                                       ~
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 ~        90592 (03/06)                                                                                                                                                                                        9                        © 2006 American International Group, lnc,                                                                           rights reserved.                                             ~
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I
                                   extended reporting period pursuant to such terms, conditions, exclusions and additional premium as we
                                   may decide. In the event of a transaction, the right to an extended reporting period shall not otherwise                                                                                                                                                                                                                                                                                    g
                                   exist except as provided in this paragraph.                                                                                                                                                                                                                                                                                                                                                 ~
                                                                                                                                                                                                                                                                                                                                                                                                                               i'
~~                    (d) Common Extended Reporting Period Terms: An extended reporting period is not cancelable and the                                                                                                                                                                                                                                                                                                       ~g
21~                       additional premium charged shall be fully earned at inception. This Clause 9 shall not apply to any                                                                                                                                                                                                                                                                                                  ;.~
                          cancellation resulting from non-payment of premium. The rights contained in this Clause 9 shall terminate                                                                                                                                                                                                                                                                                            ~
                          unless written notice of election of an extended reporting period together with any additional premium due                                                                                                                                                                                                                                                                                           5
                          is received by us no later than thirty (30) days subsequent to the effective date of the cancellation,                                                                                                                                                                                                                                                                                                ~


                                                                                                                                                                                                                                                                                                                                                                                                                              iI
                          nonrenewal or transaction.                                                                                                                                                                                                                                                                                                                                                                           "2

1        10 . ORGANIZATIONAL CHANGES
~                     (a) Transactions: If during the policy period:
~                                   (1)            the named insured shall consolidate with, merge into, or sell all or substantially all of its assets to any                                                                                                                                                                                                                                                                 g
                                                                                                                                                                                                                                                                                                                                                                                                                               ;:i
                                                   other person or entity or group of persons or entities acting in concert; or                                                                                                                                                                                                                                                                                                ~
                                    (2)            any person or entity or group of persons or entities acting in concert shall acquire management
                                                   control of the named insured;
                                   (any of such events being a "transaction"), then this policy shall continue in full force and effect as to                                                                                                                                                                                                                                                                                  g
                                   wrongful acts occurring prior to the effective time of the transaction, but there shall be no coverage                                                                                                                                                                                                                                                                                      ~
                                   afforded by any provision of this policy for any actual or alleged wrongful act after the effective time of                                                                                                                                                                                                                                                                                 ~
                                   the transaction, unless (i) within thirty (30) days of such transaction we have been provided with full                                                                                                                                                                                                                                                                                     I
~                                  particulars of the transaction, the related entities and any other information requested by us, and Iii) the                                                                                                                                                                                                                                                                                ~
~                                  named insured or its successor, has agreed to any additional premium and amendments to this policy                                                                                                                                                                                                                                                                                          ~
I                                  required by us.                                                                                                                                                                                                                                                                                                                                                                             I
2                                  Coverage for post-transaction wrongful acts is conditioned upon the named insured or its successor                                                                                                                                                                                                                                                                                          g
                                   paying when due any additional premium required by us. This policy may not be canceled after the                                                                                                                                                                                                                                                                                            ~
1~
~
                                   effective time of a transaction and the entire premium for this policy shall be deemed earned as of such
                                   time.
                                                                                                                                                                                                                                                                                                                                                                                                                               ~
                                                                                                                                                                                                                                                                                                                                                                                                                               g
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~                      (b) Subsidiary Additions: If "Blanket" has been checked in Item 1(b) of the Declarations, subsidiary also                                                                                                                                                                                                                                                                                               ~
I                          includes any for-profit entity of which the named insured first had management control during the policy                                                                                                                                                                                                                                                                                            ~
:                          period, whether directly or indirectly through one or more other subsidiaries, and:                                                                                                                                                                                                                                                                                                                  I.~.,
I                                   (1)             whose revenues do not exceed ten percent (10%) of the gross revenues of the organization (as of the
                                                                                                                                                                                                                                                                                                                                                                                                                               I~
I
~                                                   inception date of this policy); or
                                    (2)             whose revenues exceed ten percent (10%) or more of the gross revenues of the organization (as of                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                                                                                                                5
~                                                   the inception date of this policy), but such entity shall be a "subsidiary" only once the named insured                                                                                                                                                                                                                                                                     g
~                                                   shall have provided us with full particulars of the new subsidiary and agreed to any additional                                                                                                                                                                                                                                                                             ~
~                                                                                                                                                                                                                                                                                                                                                                                                                               El
                                                    premium and amendments to this policy required by us relating to such subsidiary. Further, coverage                                                                                                                                                                                                                                                                         s
                                                                                                                                                                                                                                                                                                                                                                                                                               I
2
~                                                   as shall be afforded to any subsidiary and any employee thereof is conditioned upon the named
~~                                                  insured paying when due any additional premium required by us relating to such subsidiary.
                                                                                                                                                                                                                                                                                                                                                                                                                                g5

I
                       (c) Other Organizational Changes: In all events, coverage as is afforded under this policy with respect to a                                                                                                                                                                                                                                                                                             ~
                           claim made against any subsidiarv and/or any employee of an organization shall only apply for wrongful                                                                                                                                                                                                                                                                                              I
I
                           acts committed or allegedly committed (1) in the case of a subsidiary, (i) after the effective time the
                           named insured obtained management control of such subsidiary, and (ii) prior to the effective time that the
                           named insured no longer has management control over such subsidiary, (2) in the case of an employee of
                                                                                                                                                                                                                                                                                                                                                                                                                               I"

                                                                                                                                                                                                                                                                                                                                                                                                                                "
                                                                                                                                                                                                                                                                                                                                                                                                                               I
I
~                          an organization, solely while such employee is employed by the named insured or a subsidiary over which
                           the named insured has management control, or (3) in the case of an employee of an additional insured,                                                                                                                                                                                                                                                                                                ~
~                          solely while employed by such additional insured.                                                                                                                                                                                                                                                                                                                                                    ~
~                                                                                                                                                                                                                                                                                                                                                                                                                               5
I         11.                WHERE COVERAGE APPLIES                                                                                                                                                                                                                                                                                                                                                                            I
I                            We cover wrongful acts that occur, claims that are brought and losses suffered anywhere in the world.                                                                                                                                                                                                                                                                                = __         1
~         12.                ACTIONS AGAINSTU                                                                                                                                                                                        S                                                                                                                          - 5
~                                                                                                                                                                                                                                                                                                                                                                                                                               g
~                            (a)                 No one can sue us, or commence alternative dispute resolution as provided by Clause 17 of this                                                                                                                                                                                                                                                                                 g
§                                                policy, to recover under this policy unless there has been full compliance by you with all the terms of                                                                                                                                                                                                                                                                       I
~                                                this policy.                                                                                                                                                                                                                          EXHIBIT C                                                                                                                                5
?                                                                                                                                                                                                                                                                                                                                                                                                                                ~~
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~ 90592 (03/06)                                                                                                                                                                            10                                                                                            rights reserved.                                                                                                                         ~
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:;!                                                                                                                                                                                                                                                                                                                                                                                                            5
~                           (b)                A person or organization may sue us to recover up to the policy limits of liability or any applicable                                                                                                                                                                                                                                                           g


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~                                              sublimit of liability under this policy, whichever would be exhausted first, only after liability of all                                                                                                                                                                                                                                                        .~.
                                               insureds has been decided by:                                                                                                                                                                                                                                                                                                                                   ~
                                               (1) an arbitration award as a result of arbitration commenced in accordance with Clause 17 of this                                                                                                                                                                                                                                                              ~
                                                   policy;                                                                                                                                                                                                                                                                                                                                                     ~


II                          (c)
                                               (2) a trial or appeal, after which a final judgment has been entered; or
                                               (3) a written agreement signed by you, us and the party making the claim.
                                               Any person, organization or legal representative thereof who has secured such award, judgment or
                                               written agreement shall thereafter be entitled to recover under this policy to the extent of the
                                                                                                                                                                                                                                                                                                                                                                                                               ~."
                                                                                                                                                                                                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                                                                                                                               I'"
                                                                                                                                                                                                                                                                                                                                                                                                               ~
                                               insurance afforded by this policy. We may not be impleaded by any natural person insured, his or her                                                                                                                                                                                                                                                            '"
                                                                                                                                                                                                                                                                                                                                                                                                               §
                                               spouse, any other insured or any legal representative of the foregoing.                                                                                                                                                                                                                                                                                         5
                                                                                                                                                                                                                                                                                                                                                                                                               ~
         13.                SUBROGATION
                                                                                                                                                                                                                                                                                                                                                                                                               g
                                                                                                                                                                                                                                                                                                                                                                                                               §
~                           You may be able to recover all or part of a claim or a loss from someone other than us. You may waive your                                                                                                                                                                                                                                                                         i
                            rights to recovery against others as long as you do so in writing before the loss occurs. You must do all                                                                                                                                                                                                                                                                          i
I
5
~
                            that is possible after a claim or loss to preserve any, and all, rights of recovery. As a condition of any
                            payment by us under this policy, your rights to recovery will be transferred to us. You will do whatever is
                            necessary, including signing documents, to help us obtain that recovery.
                                                                                                                                                                                                                                                                                                                                                                                                               5
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                  .          ~:c~:~ ::S~~:':~sEe   steted to the contrary elsewhere in the policy, such insurance as is provided by this
                             policy shall apply only as excess over any other valid and collectible insurance available to any insured
                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                               §



                                                                                                                                                                                                                                                                                                                                                                                                                ~
                             unless such other insurance is written only as specific excess insurance over the policy limit of liability                                                                                                                                                                                                                                                                        '"
                                                                                                                                                                                                                                                                                                                                                                                                                5
                             provided by this policy.                                                                                                                                                                                                                                                                                                                                                           §
1
i         15.                CANCELLATION
                                                                                                                                                                                                                                                                                                                                                                                                                g"
                                                                                                                                                                                                                                                                                                                                                                                                                ~
i                            (a)                By Named Insured:      This policy may be canceled by the named insured at any time only by mailing                                                                                                                                                                                                                                                            I
 ~                                              written prior notice to us or by surrender of this policy to our authorized agent or us.                                                                                                                                                                                                                                                                        5
 ~
 2
                             (b)                By Us: This policy may be canceled by our delivering to the named insured by registered, certified,                                                                                                                                                                                                                                                             5
                                                                                                                                                                                                                                                                                                                                                                                                                g
 ~                                              other first class mail or other reasonable delivery method, at the address of the named insured set                                                                                                                                                                                                                                                             ~
 ~                                              forth in the Declarations, written notice stating when, not less than sixty (60) days thereafter (ten (10)                                                                                                                                                                                                                                                      "
 ~                                                                                                                                                                                                                                                                                                                                                                                                              §

 ~I                                             ~~::f i:f t~ai~~:n~ro~e~i::~~II~~ios~:~rn~~i~:a:sm:f:tre~fai~r:~:~lm~~ ~U~f~~:~:I~r~~~ ~~a~lo~~ee:f:~t:~~~                                                                                                                                                                                                                                                     I
                                                policy shall be deemed canceled as to all insureds at the date and hour specified in such notice.                                                                                                                                                                                                                                                               ~
                             (c)                Return of Premium: We shall have the right to the premium amount for the portion of the policy period                                                                                                                                                                                                                                                           ~

I                                               during which the policy was in effect. If this policy shall be canceled by the named insured, we shall
                                                retain the customary short rate proportion of the premium herein.
                                                                                                                                                                                                                                                                                                                                                                                                                §
                                                                                                                                                                                                                                                                                                                                                                                                                s
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I         16.                ASSIGNMENT                                                                                                                                                                                                                                                                                                                                                                         I
 ~                                                                                                                                                                                                                                                                                                                                                                                                             I
In.
I
                             This policy and any and all rights hereunder are not assignable without our prior written consent.

                             ALTERNATIVE DISPUTE RESOLUTION PROCESS

                             It is hereby understood and agreed that all disputes or differences which may arise under or in connection
                                                                                                                                                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                m
 ~i                          with this policy, whether arising before or after termination of this policy, including any determination of the                                                                                                                                                                                                                                                                   I
                             amount of loss, shall be submitted to the alternative dispute resolution ("ADR") process set forth in this                                                                                                                                                                                                                                                                         §
                             clause.                                                                                                                                                                                                                                                                                                                                                                            §
i~                           Either you or we may elect the type of ADR process discussed below; provided, however, that you shall                                                                                                                                                                                                                                                                              i
I                            have the right to reject our choice of the type of ADR process at any time prior to its commencement, in
                             which case your choice of ADR process shall control.                                                                                                                                                                                                                                                                                                                              !~
                             There shall be two choices of ADR process: (1) non-binding mediation administered by any mediation facmtY=--.:.~
                                                                                                                                            •.


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 ~
                             to which we and you mutually agree, in which all implicated insureds and we shall try in good faith to settle §
                             the dispute by mediation under or in accordance with the then-prevailing commercial mediation rules; or (2)
                             arbitration submitted to an arbitration panel of three (3) arbitrators. The insureds shall select one (1)
                                                                                                                                            ~
                                                                                                                                            ~
                             arbitrator, we shall select one (1) arbitrator and said arbitrators shall mutually agree upon the selection of ~                                                                                                                                 EXHIBIT C g
 ~
I        90592 (03/06)                                                                                                                                                                                  11                         © 2006 American International Group, Inc. AllPAGE         509 ~
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~                                                                                                                                                                                                                                                                                                                    §
i      24.            SERVICE OF SUIT                                                                                                                                                                                                                                                                                ~




I
~                    Subject to Clause 17, it is agreed that in the event of our failure to pay any amount claimed to be due under                                                                                                                                                                                   I
                     this policy, we, at the request of any insured, will submit to the jurisdiction of a court of competent                                                                                                                                                                                         ~
                     jurisdiction within the United States of America. Nothing in this Clause constitutes, or should be understood                                                                                                                                                                                   ?!
                     to constitute, a waiver of our rights to commence an action in any court of competent jurisdiction in the                                                                                                                                                                                       g
                     United States, to remove an action to a United States District Court, or to seek a transfer of a case to                                                                                                                                                                                         ~
i                    another court as permitted by the laws of the United States of America or of any state in the United States                                                                                                                                                                                      ~.
i~                   of America.     It is further agreed that service of process may be made upon General Counsel, Legal                                                                                                                                                                                             ii
                                                                                                                                                                                                                                                                                                                      ~§
~                    Department, American International Specialty Lines Insurance Company, 70 Pine Street New York, NY
?~                    10270, or his or her representative, and that in any suit instituted against us upon this contract, we will
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                                                                                                                                                                                                                                                                                                                      ~


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2                    abide by the final decision of such court or of any appellate court in the event of any appeal.
                      Further, pursuant to any statute of any state, territory, or district of the United States of America which
                      makes provision therefore, we hereby designate the Superintendent, Commissioner, or Director of Insurance,
                                                                                                                                                                                                                                                                                                                     I
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                      or other officer specified for that purpose in the statute, or his or her successor or successors in office as
                      our true and lawful attorney upon whom may be served any lawful process in any action, suit, or proceeding
                      instituted by or on behalf of any insured or any beneficiary hereunder arising out of this contract of
                                                                                                                                                                                                                                                                                                                     i5

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?                     insurance, and hereby designates the above-named General Counsel as the person to whom the said officer                                                                                                                                                                                         ~
i                     is authorized to mail such process or a true copy thereof.                                                                                                                                                                                                                                      ~

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~                                                                                                                      EXHIBIT C I'"
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t~:~:~"~:~:~~1rull"1A~WJUL"~=l1""~'lWW""~W~E~"l1VC~C~'~~l.~~l.l.1A~1A~~~~~~~1.~~1A~1A:~~::::~::1.~:::::~:~::~~~~:~~:':~~::::'~:::l.~':~~l.~J
                        Case 2:15-cv-02416-SVW-JPR Document 1-4 Filed 04/02/15 Page 16 of 79 Page ID #:512


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                                                                                                                                                                      "~l.rt..
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                                                                                                                    AIG netAdvantage®
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        1.         MODULAR FORMAT                                                                                                                                                                                                                                                                                                                                 I~



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I                  This SECURITY & PRIVACY LIABILITY Module is a part of an AIG netAdvantage policy comprised of the ~
~                  following components: (i) the Declarations, (ii) a BASE Section, (iii) this Coverage Module, and (iv) if purchased, ~
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                   other optional Coverage Modules. This Coverage Module affords no coverage except as part of a policy ~
                   comprised of the components set forth above. The terms, conditions, exclusions and other limitations set forth ~
                   in this Coverage Module are solely applicable to coverage afforded by this Coverage Module. THIS COVERAGE
                                                                                                                                                                                                                                                                                                                                                                  I
I
                   MODULE IS WRITTEN ON A CLAIMS-MADE AND REPORTED BASIS.
a
                                                                                                                                                                                                                                                                                                                                                                   2
         2. MODIFIED DEFENSE OF INSUREDS                                                                                                                                                                                                                                                                                                                          1
~                   Clause 2, Coverage B of the BASE Section, is hereby amended by appending the following paragraph to the "
s                   end of that Clause:                                                                                                                                                                                                                                                                                                                            i
I                   (6)            Regulatory Actions: We have the right, but not the duty, to defend any regulatory action. We shall pay 5
                                                                                                                                          5
                                                                                                                                                                                                                                                                                                                                                                  I
§
I               for claim expenses any insured incurs with our prior written consent in the defense of a regulatory action
~               for covered wrongful acts.                                                                                 §
§                                                                                                                          ~
Ia       3. BASE DEFINITIONS                                                                                                                                                                                                                                                                                                                                       ~
                                                                                                                                                                                                                                                                                                                                                                   ~
 ~                                                                                                                                                                                                                                                                                                                                                                 §
;;;                 Solely with respect to the coverage afforded under this Coverage Module only, the Definition Paragraphs 3(e) E
                                                                                                                                     ~
§§                  (claim), 3(0) (identity theft), 3(aa) (privacy policy) and 3(gg) (suit) of the BASE Section are deleted in their 5
 g                  entirety and replaced, respectively, with the following:                                                         2
 g                                                                                                                                                                                                                                                                                                                                                                 2
$                                                                                                                                                                                                                                                                                                                                                                  ~
~                   (e) "Claim" means:                                                                                                                                                                                                                                                                                                                             ~
§                       (1) a written or oral demand for money, services, non-monetary relief or injunctive relief;                                                                                                                                                                                                                                                ~
 ~~                     (2) a suit; or,                                                                                                                                                                                                                                                                                                                            g~
 $                      (3) a regulatory action.                                                                                                                                                                                                                                                                                                                   ::;
 ~                                                                                                                                                                                                                                                                                                                                                                 ~
I§
                    (0) "Identity theft" means the misappropriation of private information that has resulted in, or could result in the ~
                                                                                                                                                                                                                                                                                                                                                                   ~


 -                      wrongful or fraudulent use of such Information, including without limitation, fraudulently emulating the 5
 §                                                                                                                                      5
 ~                      identity of an individual or corporation.                                                                       5

Is                  (aa) "Privacy policy" means the organization's policies and practices intended to protect the confidentiality of §
                                                                                                                                                                                                                                                                                                                                                                   I
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                        private information, including without limitation, statements in written or electronic form regarding the "
                        collection, dissemination or treatment of personally identifiable information.                               g
                                                                                                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                                                                                                   2
I~
                     (gg) "Suit" means a civil proceeding for monetary, non-monetary or injunctive relief that is commenced by                                                                                                                                                                                                                                      ~
 §                       service of a complaint or similar pleading; provided, however, suit shall not include a regulatory action. Suit                                                                                                                                                                                                                           §
 s
 g                       shall also include a binding arbitration proceeding in which damages are alleged and to which you must submit                                                                                                                                                                                                                             §"
 ~                       or do submit with our prior written consent.                                                                                                                                                                                                                                                                                              ~
 g                                                                                                                                                                                                                                                                                                                                                                 2
2                                                                                                                                                                                            §
 ~ 4.               MODULE DEFINITIONS                                                                                                                                                                                                                                                                                                                             §
 g                                                                                                                                                                                                                                                                                                                                                                 ~

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                    SL(a)                  "Class action claim" means any claim arising out of a wrongful act which resulted in a privacy peril:                                                                                                                                                                                                                   i~
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 ~
                                           (1) brought on behalf of a class or putative class of plaintiffs (whether or not certified as such);
                                                                                                                                                                                                                                                                                                        EXHIBIT C                                                  fJ
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 §
         90599 (03/06)                                                                                                                                                                        © 2005 American International Group, Inc.
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Case 2:15-cv-02416-SVW-JPR Document 1-4 Filed 04/02/15 Page 17 of 79 Page ID #:513




                                                                      EXHIBIT C
                                                                      PAGE 513
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                                                                      EXHIBIT C
                                                                      PAGE 514
           Case 2:15-cv-02416-SVW-JPR Document 1-4 Filed 04/02/15 Page 19 of 79 Page ID #:515


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                     those parties to which the private      information could be disclosed to; (d) "opt out" choices of the ~
                     individual or entity from whom you      are collecting the private information; or (e) the means you offer ~




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                     for limiting use or disclosure of the
                     not apply to any otherwise covered
                                                             private information; provided, however, that this exclusion shall ~
                                                              claim for a wrongful act that resulted in a privacy peril.

                 (2) the integrity of private information, including whether the private information is: (i) relevant and
                     reliable for the purpose for which it is collected or to be used; (ii) accurate; (iii) complete; or (iv)
                     current;
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                 (3) your provision of, or failure to provide, access to private information to those individuals or entities
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                     with an actual or alleged right to such access, including, without limitation, failing to provide an
                     individual or entity the ability to correct, amend or delete private information;
                                                                                                                                g~
                                                                                                                                ~
                 (4) your  distribution of unsolicited marketing, e-mail or advertising, including without limitation ~
                     unsolicited electronic messages, chat room postings, bulletin board postings, newsgroup postings, "'~
                     "pop-up" or "pop-under" Internet advertising or fax-blasting, direct mailing or telemarketing; §
                     provided, however, this exclusion shall not apply to any claim for a wrongful act that resulted in a
                     privacy peril;                                                                                       s
                                                                                                                          1:
                                                                                                                                I
I
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                 (5) your distribution, creation, exhibition, performance, preparation, printing, production, publication,
                     release, display, research or serialization of any material, including without limitation, any such
                                                                                                                                I
                     claim covered under Clause, 2., Coverage A of the BASE Section; or                                         !
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     7.   REGULATORY ACTION SUBLIMIT OF LIABILITY                                                                               ~
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          Clause 5, paragraph (a) of the BASE Section, is hereby amended by appending the following subparagraph to
          the end of that Clause:                                                                                   5
                                                                                                                                I
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                                                                                                                                §
          (6) The regulatory action limit of liability set forth in Item 5 of the DECLARATIONS of this Policy is the most
             we will pay as claim expenses under this policy, in the aggregate, for all regulatory actions combined, 5
                                                                                                                                ~
                                                                                                                              :;,


             regardless of the number of persons, occurrences, regulatory actions or entities covered by this policy, or g
                                                                                                                              s
             claimants or regulatory actions brought against any insured. The regulatory action limit of liability is part of
             and subject to the policy limit of liability and the sublimit of liability for SECURITY & PRIVACY LIABILITY.
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     8.   SPECIAL CLASS ACTION RETENTION                                                                                        ~
                                                                                                                                ~
                                                                                                                            ~
          For each class action claim arising out of a wrongful act(s) which resulted in a privacy peril, the insurer shall §
          only be liable for the amount of loss arising from such class action claim that exceeds the applicable Retention "5


I         amount for such claim. Accordingly, the Retention amount for each class action claim shall be the greater of
          one hundred thousand dollars ($100,000) or two hundred percent (200%) of the Retention amount set forth in ~
          Item 4. of the Declarations for SECURITY & PRIVACY LIABILITY.
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                                                        < End of Module>
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                        Case 2:15-cv-02416-SVW-JPR Document 1-4 Filed 04/02/15 Page 20 of 79 Page ID #:516
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                                                                                                                         fl.;,"'Ln.'ll'UL\'U'IJt$l~"'Ln.n.'!Ll·U1lL\"Ltt~lrllV1.l'L~nrlVl'tIli1!~-1.tln."1.n!l«ILn.mUm,..
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                                                                                                                 AIG netAdvantage®                                                                                                                                                                                                                          I
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        1.         MODULAR FORMAT
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~
5                  This MULTIMEDIA Module is a part of an AIG netAdvantage policy comprised of the following components: (i)                                                                                                                                                                                                                                ~
                                                                                                                                                                                                                                                                                                                                                            ~
§                  the Declarations, (ii) a BASE Section, (iii) this Coverage Module, and (iv) if purchased, other optional Coverage                                                                                                                                                                                                                        I
I                  Modules. This Coverage Module affords no coverage except as part of a policy comprised of the components                                                                                                                                                                                                                                 ~
~
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~
                   set forth above. The terms, conditions, exclusions and other limitations set forth in this Coverage Module are
                   solely applicable to coverage afforded by this Coverage Module. THIS COVERAGE MODULE IS WRITTEN ON
                   AN OCCURRENCE BASIS.
                                                                                                                                                                                                                                                                                                                                                            I
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        2.         BASE INSURING CLAUSES
                   Clause 2. Insuring Agreements, the paragraph preceding Coverage A and Coverage A of the BASE Section dO!~
                   not apply to and do not grant coverage under this Coverage Module.
                                                                                                                                                                                                                                                                                                                                                             ffi




I~      3.         MULTIMEDIA MODULE INSURING CLAUSE (Occurrence Based)                                                                                                                                                                                                                                                                                     I
I                  We shall pay on your behalf those amounts, in excess of the applicable Retention, you or any additional                                                                                                                                                                                                                                  I
§
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m
                   insureds are legally obligated to pay, including liability assumed under contract, as damages resulting from any
                   claim made against you or such additional insured for your wrongful acts; provided that such wrongful act(s)
                   first occur during the policy period, regardless of when such claim is made or a suit is filed.
                                                                                                                                                                                                                                                                                                                                                            I
~:=;    4.         BASE DEFINITIONS                                                                                                                                                                                                                                                                                                                         52

I
§
                   With respect to the coverage afforded under this Coverage Module only, Definition Paragraph 3(a) (additional
                   insured) of the BASE Section is hereby deleted and replaced with the following:
                                                                                                                                                                                                                                                                                                                                                            I~
~                                                                                                                                                                                                                                                                                                                                                            5
~                  (a) "Additional insured" shall mean:                                                                                                                                                                                                                                                                                                      ~

~                              (1)          any independent contractors, agents, third-party distributors, licensees and sub-licensees who assist                                                                                                                                                                                                           i
I                                           in the performance, dissemination or distribution of material, but solely where an organization has,                                                                                                                                                                                                             ~
!                                           prior to the commission of a wrongful act, expressly agreed in writing to indemnify and defend such                                                                                                                                                                                                             I
~                                           third party of and from liability arising out of such wrongful act, and                                                                                                                                                                                                                                          ~

I                              (2) any other person or entity listed as an "additional insured" by endorsement to this Coverage Module or                                                                                                                                                                                                                    ~
~                                  to the BASE Section.                                                                                                                                                                                                                                                                                                      ~
§                                                                                                                                                                                                                                                                                                                                                            ~
2~              With respect to the coverage afforded under this Coverage Module only, Definition Paragraph 3(p) (insured) of                                                                                                                                                                                                                                5
                                                                                                                                                                                                                                                                                                                                                             ~
~               the BASE Section is hereby deleted and replaced with the folloVliing:                                                                                                                                                                                                                                                                        ~

~                  (p) "Insured" means each (1) of you; and (2) any additional insured.                                                                                                                                                                                                                                                                      ~
§                                                                                                                                                                                                                                                                                                                                                            ~
~               With respect to the coverage afforded under this Coverage Module only, Definition Paragraph 3(nn) (you or                                                                                                                                                                                                                                    ~
§               your) of the BASE Section is hereby deleted and replaced with the following:                                                                                                                                                                                                                                                                 ~
g
~5                 (nn) "You" or "your" means each and every:                                                                                                                                                                                                                                                                                               I~
                                                                                                                                                                                                                                                                                                                                                             "

2                              (1) organization;                                                                                                                                                                                                                                                                                                             2

ii                             (2) employee of an organization, but only while acting within the scope of his or her duties as such in the
                                   provision of material for such organization; and
                                                                                                                                                                                                                                                                                                                                                            I&
g                              (3) additional insured, but only while acting within the scope of his or her duties as such in the provision,=._1
~                                  dissemination or distribution of material for an organization.               -                           .. ~

I       5. MODULE DEFINITIONS                                                                                                                                                                                                                                                                                                                               I~
I
§2
                                                                                                                     EXHIBIT C ,
           MEDIA (a) "Assumed under contract" means liability for damages from a wrongful act where such liability has I
                                                                                                                      PAGE 516 i
.:      90597 (03/06)                                  1          © 2006 American International Group, Inc. All rights reserved.
~.J"l.fU":<Jlllmmr.-..r~<jlJ:;,nrtfilt.UtJlJtn.~nn.m"iJ1J"tnn.nn.p..rillJU1JU1f'~UUUUmJlElUUUUUU'J\r,,tX,'F·nt'JU\Hr-Uimtnn.nn.nhf!.mm..fU'U1.f":illru'U""",J1f',,,nnJ1.r,,,r.t;..fUmfi.J'inmtrUlnn.nn..r,:AlIlF;..rulnn..nn..l1JU·'Jlrmru ~~nn.nr~l1nJW.•I'\ro.nnJ!xt'"'l\fJ';r,,"I;)'~l':XJ\rxwj"::.J\nru'-l'1.n.n.~
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                                                                 been assumed by you in the form of a written hold harmless or indemnity agreement that predates                                                                                                                                                                                                                                                                                    ~
~                                                                the first such wrongful act.                                                                                                                                                                                                                                                                                                                                                       ~
I~                     MEDIA (b) "Content" means written, printed, video, electronic, digital, or digitized images, sounds, text,
                                 music, descriptions and information.                                                                                                                                                                                                                                                                                                                                                                               ~
                                                                                                                                                                                                                                                                                                                                                                                                                                                     ~
2                                                                                                                                                                                                                                                                                                                                                                                                                                                   ~
~                                                                "Content" does not include:                                                                                                                                                                                                                                                                                                                                                        g
~                                                                                                                                                                                                                                                                                                                                                                                                                                                    a
~                                                                (1) the actual goods, products or services described, illustrated or displayed in media content;                                                                                                                                                                                                                                                                                    ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                    3
                                                                                                                                                                                                                                                                                                                                                                                                                                                     ~
I
?                                                                (2) any software or code that is intended to: (i) control the functioning of computer hardware or
                                                                               electronic controls, or (ii) process data or information; or                                                                                                                                                                                                                                                                                                         I
~                                                                (3) your trademark or trade name.                                                                                                                                                                                                                                                                                                                                                  ~
I                      MEDIA (c) "Covered peril" means any:                                                                                                                                                                                                                                                                                                                                                                                         I       ~
I
~
                                                                  (1)              infringement of copyright, title, slogan, trademark, trade name, trade dress, mark, service
                                                                                   mark or service name, including without limitation infringement of domain name, deep-linking
                                                                                                                                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                                                                                                                                                                                     ~
~                                                                                  or framing; plagiarism, piracy or misappropriation of ideas under implied contract or other                                                                                                                                                                                                                                                                       g
~                                                                                  misappropriation of property rights, ideas or information; or any alleged violation of Section                                                                                                                                                                                                                                                                    §
~
~                                                                                  43(a) of the Lanham Act or any similar state statutes; including without limitation unfair
                                                                                                                                                                                                                                                                                                                                                                                                                                                     g2
i~                                                                                 competition in connection with a claim for damages in connection with such conduct;                                                                                                                                                                                                                                                                               ~~

~                                                                 (2)              form of invasion, infringement or interference with rights of privacy or publicity, including, but                                                                                                                                                                                                                                                                g~
?@                                                                                 not limited to false light, public disclosure of private facts, intrusion and commercial                                                                                                                                                                                                                                                                          ~
~                                                                                  appropriation of name, persona or likeness; including without limitation emotional distress or                                                                                                                                                                                                                                                                    §
i:!
i!                                                                                 mental anguish alleged in connection with a claim for damages in connection with such                                                                                                                                                                                                                                                                             ~
                                                                                                                                                                                                                                                                                                                                                                                                                                                     §.




~                                                                                                                                                                                                                                                                                                                                                                                                                                                    ~
?                                                                                  conduct;                                                                                                                                                                                                                                                                                                                                                          "
~                                                                                                                                                                                                                                                                                                                                                                                                                                                    g
i'                                                                (3)              form of defamation or other tort related to disparagement or harm to character, reputation or                                                                                                                                                                                                                                                                     5
?                                                                                                                                                                                                                                                                                                                                                                                                                                                    5
~                                                                                  the feelings of any person, including, but not limited to, libel, slander, product disparagement,                                                                                                                                                                                                                                                                 ~
i'                                                                                                                                                                                                                                                                                                                                                                                                                                                   5
@                                                                                  trade libel; including without limitation unfair competition, emotional distress or mental anguish                                                                                                                                                                                                                                                                ~
~                                                                                  alleged in connection with a claim for damages in connection with such conduct;                                                                                                                                                                                                                                                                                   ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                    §
~                                                                 (4)              wrongful entry or eviction, trespass, eavesdropping or other invasion of the right to private                                                                                                                                                                                                                                                                     5
~                                                                                                                                                                                                                                                                                                                                                                                                                                                    ~
~                                                                                  occupancy, including without limitation emotional distress or mental anguish alleged in                                                                                                                                                                                                                                                                           1::
I                                                                                  connection with a claim for damages in connection with such conduct; or                                                                                                                                                                                                                                                                                           I
~                                                                  (5)             false arrest, detention or imprisonment or malicious prosecution, including without limitation                                                                                                                                                                                                                                                                    ~
J                                                                                  emotional distress or mental anguish alleged in connection with a claim for damages in                                                                                                                                                                                                                                                                            I
~                                                                                  connection with such conduct.                                                                                                                                                                                                                                                                                                                                      '"
?                                                                                                                                                                                                                                                                                                                                                                                                                                                     ~
~                       MEDIA (d) "Each loss" means all loss arising out of a single broadcast, creation, distribution, exhibition, g
I
~
                                  performance, preparation, printing, production, publication, release, display, research or
                                  serialization of material, or multiple broadcasts, creations, distributions, exhibitions, performances, g
                                                                                                                                                                                                                                                                                                                                                                                                                                                     I
~                                 preparations, printings, productions, publications, releases, displays, research or serializations of ~
i:!                               material, or any combination of the foregoing, on one or more dates relating to the same subject,. "
?~                                person or class of persons, without regard to the number of repetitions, modifications, alterations
                                                                                                                                          5
                                                                                                                                                                                                                                                                                                                                                                                                                                                      e
~                                 or forms of such utterance, dissemination, service or advertising.                                      g
~
J                       MEDIA (e) "Material" means content:                                                                                                                                                                                                                                                                                                                                                                                          I~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                     5
 ?                                                                (1)   in broadcasts, including, but not limited to, television, motion picture, cable, satellite                                                                                                                                                                                                                                                                                    ~
~?                                                                      television and radio b roa dcasts;                                                                                                                                                                                                                                                                                                                                            g5
I                                                                 (2) in publications, including, but not limited to, newspaper, newsletter, magazine, book and                                                                                                                                                                                                                                                                                       ~
~                                                                       other literary form, monograph, brochure, directory, screen play, film script, playwright and                                                                                                                                                                                                                                                                                 g
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                                                                                     icatrons:                                                                                                                                                                                                                                                                                                                                                        §"
a~                                                                (3) . in advertising; or                                                                                                                                                                                                                                                                                                                                                            g
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~                                                                 (4)               displayed on an Internet site.                                                                                                                                                                                                                                                                                                                                    ~
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                        MEDIA (f)                                 "Web log" means any diary, commentary, or observation published on an Internet site.                                                                                                                                                                                                                                                                                               I5
~                       MEDIA (g) "Wrongful act" means, solely in the broadcast, creation, distribution, exhibition, performance,                                                                                                                                                                                                                                                                                                                     ~
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                                  preparation, printing, production, publication, release, display, research or serialization of material
                                  by you, any actual or alleged act, error, omission, breach of duty, misstatement or misleading
                                                                                                                                                                                                                                                                                                                                                                                     EXHIBIT C I                                                      g
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I                                                              prior to posting by legal counsel qualified and versed in clearance procedures for media.                                                                                                                                                                                                                                                                               ~




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~;      8.           EACH LOSS
                     This Coverage Module shall afford coverage solely to each loss arising out of a wrongful act, related wrongful
                                                                                                                                                                                                                                                                                                                                                                                                                                       !.~'"
                                                                                                                                                                                                                                                                                                                                                                                                                                       s
                     acts or series of continuous or repeated wrongful acts where the first such wrongful act first occurs during
                     the policy period. A single Retention amount shall apply to each loss covered under this Coverage Module.                                                                                                                                                                                                                                                                                                         g
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~       9.            ASSISTANCE AND COOPERATION                                                                                                                                                                                                                                                                                                                                                                                       B
~                                                                                                                                                                                                                                                                                                                                                                                                                                      B
~                     In addition to the requirements of Clause 8. WHAT YOU MUST DO IN THE EVENT OF A CLAIM of the BASE                                                                                                                                                                                                                                                                                                                §
~                                                                                                                                                                                                                                                                                                                                                                                                                                      ?
~                     Section, each insured shall take such actions that, in such insured's reasonable judgment, are .deerned                                                                                                                                                                                                                                                                                                          5
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~                     necessary and practicable to prevent, discontinue or limit the utterance or dissemination of material that is                                                                                                                                                                                                                                                                                                    I
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2                     erroneous, false, or untrue.                                                                                                                                                                                                                                                                                                                                                                                     B



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~1.1JllliUljllm..'1.l1..tt.l'll1.l'1.l'1iI1UUll:1..'1..iln~l1ll'UIiUU'L'1Jl!L\lZtfl1liJ1t":llt~1.:'l)EUtn.11.l1ll<1JL'111.i'l1l\'1l'"L<"1!l.>'UllllLIl!L!;1.11.;iu·Ul1li1!1,""h"l\1!1.o1.o:'1.<1..l"l."",.Il!Lj,.i:......fl!U\.~'1.l'"Ll1..'!'I.l'L:"l.l\l;'1.tlIIil!IJ1MIll.i1.i·1.l1JL"1J1.l1..~""I.ru't:""'l;;'1,;:'1.l1.:1.i1.;:1.;..",""1ltl:1.1,.:t.,,.'1.\l;,'"l1.o:"13"L"'ll1ll.l1ll.l~'l!I..ru1.!,.n.lL.'!1.l1!Li11Lll11n!§
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                                                    reported to an insurer on, or is covered under, any other policy of insurance effective prior to the
                                                    inception date of this policy; or alleging or arising out of the same failure of security or series of
                                                    continuous, repeated or related failures of security or alleging the same or similar facts, alleged or
                                                                                                                                                                                                                                                                                                                                                                                                                II
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~                                                   contained in any claim that has been reported, or any failure of security of which notice has been                                                                                                                                                                                                                                                           ~
~                                                   given, under any policy of which this policy is a replacement or succeeds in time;                                                                                                                                                                                                                                                                           ~
iif!                       IA (b)                    arising out of or resulting, directly or indirectly, from any seizure, confiscation, nationalization, or
                                                                                                                                                                                                                                                                                                                                                                                                                 5
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if!
i1l                                                  destruction of your computer system or information assets by order of any governmental or public
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if!                                                  authority; or                                                                                                                                                                                                                                                                                                                                               i
I
~                          IA (c)                    arising out of or resulting, directly or indirectly, from any wear and tear or gradual deterioration of                                                                                                                                                                                                                                                     ~!'::
~                                                    your computer system or information assets.                                                                                                                                                                                                                                                                                                                 ~
~                                                                                                                                                                                                                                                                                                                                                                                                                g
~             8.           LIMIT OF LIABILITY (FOR ALL LOSS - INCLUDING CLAIMS EXPENSES): Solely with respect to the                                                                                                                                                                                                                                                                                             §
I                          coverage afforded under this Coverage Module, in Clause 5. LIMIT OF LIABILITY (FOR ALL LOSS -                                                                                                                                                                                                                                                                                         I
~                          INCLUDING CLAIMS EXPENSES) of the BASE Section, paragraph (a), subsections (2) and (5) are deleted in                                                                                                                                                                                                                                                                                 5
~                          their entirety and replaced with the following:                                                                                                                                                                                                                                                                                                                                        ~
I                           (2) Each sublimit of liability set forth in the Declarations as applicable to a specific Coverage Module is the                                                                                                                                                                                                                                                                      I
~                               most we shall pay under this policy as loss in respect of such Coverage Module regardless of the                                                                                                                                                                                                                                                                                  ~
~                               number of persons, occurrences, claims, failures of security or entities covered by this policy, or                                                                                                                                                                                                                                                                              i
I                               claimants or claims brought against any insured.                                                                                                                                                                                                                                                                                                                                  ~
I                                       If two or more Coverage Modules apply to loss and the amount of the sublimits of liability differ, the                                                                                                                                                                                                                                                                    J
 if!                                    most we will pay for loss covered by any single Coverage Module is the sublimit of liability applicable to                                                                                                                                                                                                                                                               i
I~
 i?
                                        that Coverage Module. In any event the highest applicable sublimit of liability shall be our maximum
                                        limit of liability for all loss from such failure of security.
                                                                                                                                                                                                                                                                                                                                                                                                                 I5
                                                                                                                                                                                                                                                                                                                                                                                                                  g
I~
                                        With respect to this Coverage Module, our total liability for all loss arising from any and all failures of
                                        security first occurring during the policy period or any applicable extended reporting period, alleging any
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                                                                                                                                                                                                                                                                                                                                                                                                                 i
i                                                                                                                                                                                                                                                                                                                                                                                                                i
I
                                        failure of security or series of continuous, repeated or related failures of security shall not exceed the
                                        applicable sublimit of liability, subject to the following:                                                                                                                                                                                                                                                                                                              I
I                                                    our total liability for information asset loss arising from each covered failure of security resulting in the                                                                                                                                                                                                                                                ~
 if!
 ~
                                                     theft, misappropriation, or copying of any information asset, shall be the amount set forth by specific                                                                                                                                                                                                                                                      ~
                                                                                                                                                                                                                                                                                                                                                                                                                  5
 ~                                                   endorsement, if applicable, for each such information asset. In the event no such endorsement is                                                                                                                                                                                                                                                             §
 ~                                                   attached, our limit of liability for such information asset loss shall be zero.                                                                                                                                                                                                                                                                              ~
 ~                                                                                                                                                                                                                                                                                                                                                                                                                g
 ~                                      Loss or a failure of security arising out of the same failures of security, or a series of continuous,                                                                                                                                                                                                                                                                    i
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                                        repeated or related failures of security shall be deemed to arise from the first such failure of security.
                            (5) Information asset loss is part of and subject to the policy limit of liability and the applicable sublimit of
                                liability in this policy.
                                                                                                                                                                                                                                                                                                                                                                                                                  !:

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 ~             9.           RETENTION: Solely with respect to the coverage afforded under this Coverage Module, in Clause 6.                                                                                                                                                                                                                                                                                      g
 ~                          RETENTION of the BASE Section, paragraph (a) is deleted in entirety and replaced with the following:                                                                                                                                                                                                                                                                                  ~
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                            (a) Retention: For each failure of security, the insurer shall only be liable for the amount of loss arising from
                                such failure of security that exceeds the Retention amount applicable to this Coverage Module affording
                                coverage for such failure of security. Such Retention amounts must be borne by the insureds and remain
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                                uninsured with regard to all loss. In our sole and absolute discretion, we may advance all or part of the
                                applicable Retention amount in which case you agree to repay us immediately after we notify you of
                                that payment.
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Iif!
               10. RETENTION:  Solely with respect to the coverage afforded under this Coverage Module, Clause 6.
                                                                                                                                                                                                                                                                                                                                                                                                                  §
                                                                                                                                                                                                                                                                                                                                                                                                                  §l
 if!               RETENTION of the BASE Section is hereby amended by appending the following to the end of that                                                                                                                                                                                                                                                                                                  §
I                           paragraPh:cc~·1
I                           (b) With respect to this Coverage Module, the Retention applies to each failure of security or series of                                                                                                                                                                                                                                                                              ~
 ~                              continuous, repeated or related failures of security and you may not insure it.                                                                                                                                                                                                                                                                                                   g
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                                                        Business interruption loss shall be calculated based on the actual business interruption loss an
                                                        organization sustains per hour. This definition is subject to the limitations set forth in the Definition
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                                                        of loss, as such term is defined in Clause 2. DEFINITIONS, paragraph (s) of the BASE Section and
                                                        amended in this Coverage Module.
                             BI (c)                     "Dependent business" means an entity that you do not own, operate or control, but that you depend                                                                                                                                                                                                                                                                                     ~~
                                                        on to conduct your organization's business.                                                                                                                                                                                                                                                                                                                                           ;,
                             BI (d)                     "Dependent business interruption loss" means an organization's income loss incurred as a direct                                                                                                                                                                                                                                                                                       :


II
                                                        result of a material interruption caused directly by a failure of security of a dependent busine-ss, but
                                                        only if such failure of security would have been covered under this Coverage Module if such
                                                        dependent business had been the named insured, applying the same terms and conditions herein.
                                                                                                                                                                                                                                                                                                                                                                                                                                             I!"
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!                            BI (e)                     "Extended business interruption loss" means an organization's income loss during the extended                                                                                                                                                                                                                                                                                        I
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                             BI (f)
                                                        interruption period.
                                                         "Extended interruption period" means the period of time that:
                                                        (1) begins on the date and time that the period of recovery ends; and
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I~                                                       (2) ends on the date and time an organization restores, or would have restored if you had exercised
                                                             due diligence and dispatch, the net profit (or loss) before income taxes that would have been
                                                                                                                                                                                                                                                                                                                                                                                                                                              I
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                                                             earned by an organization directly through an organization's business had there not been a                                                                                                                                                                                                                                                                                       I
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                                                             material interruption.
                                                        Provided, however, any extended interruption period shall end no later than thirty (30) consecutive
                                                                                                                                                                                                                                                                                                                                                                                                                                              ~
                                                                                                                                                                                                                                                                                                                                                                                                                                              "~
!                                                       days after the date and time the period of recovery ends.                                                                                                                                                                                                                                                                                                                             g
2                            BI (g)                      "Extra expense" means the expenses an organization incurs that are both reasonable and necessary
                                                         during the period of recovery:
                                                                                                                                                                                                                                                                                                                                                                                                                                              I§
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I                                                        (1) to reduce its income loss, provided that such expenses: (a) are over and above the total
                                                             reasonable and necessary expenses that such organization would have incurred had no material
                                                             interruption occurred; and (b) do not exceed the amount by which the income loss covered
                                                                                                                                                                                                                                                                                                                                                                                                                                              g
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                                                             under this policy is thereby reduced;
                                                         (2) to minimize or avoid the material interruption and continue such organization's business, which
                                                             would not have been incurred had no material interruption occurred; provided, however, that
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                                                             such expenses shall not include forensic expenses; or
                                                         (3) as forensic expenses, which would not have been incurred had no material interruption occurred.
~                                                        Provided, however, that with respect to any material interruption caused by a failure of security of                                                                                                                                                                                                                                                                                 "
~I                                                       an organization's dependent business, extra expense shall be limited to those expenses described in
                                                         above subparagraph (1) of this paragraph.
                                                                                                                                                                                                                                                                                                                                                                                                                                              II
                             BI (h)                      "Failure(s) of security" means:                                                                                                                                                                                                                                                                                                                                                      I
I~                                                       (1) the actual failure and inability of the security of your computer system to mitigate loss from or
                                                             prevent a computer attack; or
                                                                                                                                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                                                                                                                                              I
I
~                                                        (2) with respect to dependent business interruption only, the actual failure and inability of the                                                                                                                                                                                                                                                                                     I~
                                                             security of an organization's dependent business' computer system to prevent a computer                                                                                                                                                                                                                                                                                           "
                                                             attack.
I~                                                       "Failure of security" shall also include such actual failure and inability above, resulting from the theft                                                                                                                                                                                                                                                                            ~~
~                                                        of a password or access code by non-electronic means in direct violation of an organization's                                                                                                                                                                                                                                                                                         ~
~                                                        specific written security policies or procedures.                                                                                                                                                                                                                                                                                                                                    !l
~                                                                                                                                                                                                                                                                                                                                                                                                                                             g



II
 ~                            BI (i)                     "Forensic expenses" means those additional e~penses an organization incu.rs .to conduct .anc,,=,~
                                                         investigation of your computer system to determine the source or cause- of the failure of secunty                                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                                                                                                                                                                              I
                                                         that caused the material interruption.                                                            g

                              BI (j)                     "Income loss" means the:
                                                                                                                                                                                                                                                                                               EXHIBIT C
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                            Case 2:15-cv-02416-SVW-JPR Document 1-4 Filed 04/02/15 Page 31 of 79 Page ID #:527


rM~~~:'
I      :::I: ~:====:::~===:l                                        through an organization's business directly because of a material interruption; and                                                                                                                                                                                                                                                                         g

2                                                      (2) normal operating expenses incurred by an organization (including payroll), but only to the extent                                                                                                                                                                                                                                                                    I:.




                                                           that such operating expenses must necessarily continue during the period of recovery (or                                                                                                                                                                                                                                                                             ~
                                                           extended interruption period, if applicable), and only to the extent that such expenses would                                                                                                                                                                                                                                                                        §
1~                                                         have been incurred by such organization had no material interruption occurred.                                                                                                                                                                                                                                                                                       ~

                                                                                                                                                                                                                                                                                                                                                                                                                                ~
 I~                                                    Income loss shall be calculated on an hourly basis based on your actual net profit (or loss) and actual
                                                       and normal operating expenses, as described above. For purposes of this policy, "net profit (or
                                                       loss)" shall be calculated in accordance with Clause 14 of this Coverage Module.
                                                                                                                                                                                                                                                                                                                                                                                                                                ~
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                                                       However, income loss shall be reduced to the extent an organization is able to, or should have been
                                                       able to with the exercise of due diligence and dispatch, in whole or in part, end, reduce or limit the                                                                                                                                                                                                                                                                   ~
                                                       material interruption of your computer system, or conduct an organization's business by other
~i                                                     means.                                                                                                                                                                                                                                                                                                                                                                   i
                            BI (k)                     "Material interruption" means the actual and measurable interruption or suspension of your computer                                                                                                                                                                                                                                                                      s
                                                                                                                                                                                                                                                                                                                                                                                                                                §:
~                                                      system, which is directly caused by a failure of security.                                                                                                                                                                                                                                                                                                               ~

                            BI (I)                     "Period of recovery" means the time period that:                                                                                                                                                                                                                                                                                                                         ~
                                                                                                                                                                                                                                                                                                                                                                                                                                §
                                                       (1) begins on the date and time that a material interruption first occurs; and                                                                                                                                                                                                                                                                                           ~
                                                       (2) ends on the date and time that the material interruption ends, or would have ended if you had                                                                                                                                                                                                                                                                        !§:
                                                           exercised due diligence and dispatch.                                                                                                                                                                                                                                                                                                                                5
~                                                      Provided, however, the period of recovery shall end no later than thirty (30) consecutive days after                                                                                                                                                                                                                                                                     I_
~                                                      the date and time that the material interruption first occurred.                                                                                                                                                                                                                                                                                                          ~
~~                          BI (m)                     "Waiting hours period" means the number of hours set forth in Item 4 of the Declarations with                                                                                                                                                                                                                                                                             ~
                                                                                                                                                                                                                                                                                                                                                                                                                                 §
~                                                      respect to this Coverage Module, and shall apply to each period of recovery.                                                                                                                                                                                                                                                                                              ~
j                            BI (n)                    "Waiting hours retention" means the dollar amount of business interruption loss an organization                                                                                                                                                                                                                                                                          I
~                                                      incurs during a waiting hours period.                                                                                                                                                                                                                                                                                                                                     ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                ~
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               6. BASE EXCLUSIONS
                         The Exclusions set forth in Clause 4 of the BASE Section are not applicable to this Coverage Module, except
                         for the following paragraphs: 4(a) (dishonest acts); 4(d) (pollution exclusion); 4(f) (trade secret); 4(j) (bodily
                                                                                                                                                                                                                                                                                                                                                                                                                                iB
~                        injury/property damage exclusion); 4(1) (first inception); 4(q)(satellite exclusion); 4(s) (physical damage                                                                                                                                                                                                                                                                                             ~
~                        exclusion); and, 4(t) (known shortcomings exclusion)                                                                                                                                                                                                                                                                                                                                                   I
~              7. MODULE EXCLUSIONS                                                                                                                                                                                                                                                                                                                                                                                              ~

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~~
                         This Coverage Module shall not cover any failure of security or business interruption loss:

                          81 (a) arising out of or resulting, directly or indirectly, from any circumstance or occurrence that has been
                                                 reported to an insurer on, or is covered under, any other policy of insurance effective prior to the
                                                 inception date of this policy; or alleging or arising out of the same failure of security or series of
                                                                                                                                                                                                                                                                                                                                                                                                                                I
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                                                                                                                                                                                                                                                                                                                                                                                                                                 ~!::
I                                                continuous, repeated or related failures of security or alleging the same or similar facts, alleged or                                                                                                                                                                                                                                                                          ~
~                                                contained in any claim that has been reported, or any failure of security of which notice has been                                                                                                                                                                                                                                                                              B
~                                                given, under any policy of which this policy is a replacement or succeeds in time;                                                                                                                                                                                                                                                                                               ~
~
2                        BI (b) arising out of or resulting, directly or indirectly, from any seizure, confiscation, nationalization, or
                                                                                                                                                                                                                                                                                                                                                                                                                                 ~!::
~                                                                                                                                                                                                                                                                                                                                                                                                                                :.
2                               destruction of your computer system or information assets by order of any governmental or public                                                                                                                                                                                                                                                                                                  1:
~                                                                                                                                                                                                                                                                                                                                                                                                                                 5
~                               authority; or                                                                                                                                                                                                                                                                                                                                                                                    ~

I                        BI (c) arising out of or resulting, directly or indirectly, from any wear and tear or gradual deterioration of your                                                                                                                                                                                                                                                                                     ~
~
~                               computer system.                                                                                                                                                                                                                                                                                                                                                                                 §"
~~             8. LIMIT OF LIABILITY (FOR ALL LOSS - INCLUDING CLAIMS EXPENSES), Solely With respect to the coverage                                                                                                                                                                                                                                                                                                             ~~
~                 afforded under this Coverage Module, in Clause 5. LIMIT OF LIABILITY (FOR ALL LOSS - INCLUDING                                                                                                                                                                                                                                                                                                                  5
 ~                CLAIMS EXPENSES) of the BASE Section paragraph (a), subsections (2) and (5) are deleted in their entirety                                                                                                                                                                                                                                                                                                      §
~~                and replaced with the following:                                                                                                                                                                                                                                                                                                                EXHIBIT C s~
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               90593 (03/06)                                      3      © 2006 American International Group, Inc, All rights reserved.                                                                                                                                                                                                                           PAGE 527 g~
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e.                                                                                                                                                                                                                                                                                                                                                                                                                                              g
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:j!                      (2)                  Each sublimit of liability set forth in the Declarations as applicable to a specific Coverage Module is the
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                                              most we shall pay under this policy as loss in respect of such Coverage Module regardless of the
                                              number of persons, occurrences, claims, failures of security or entities covered by this policy, claimants
                                              or claims brought against any insured, subject to the following:
                                                                                                                                                                                                                                                                                                                                                                                                                                                I
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~~                                            If two or more Coverage Modules apply to loss and the amount of the sublimits of liability differ, the                                                                                                                                                                                                                                                                                            ~
                                                                                                                                                                                                                                                                                                                                                                                                                                                ~
~                                             most we will pay for loss covered by any single Coverage Module is the sublimit of liability applicable                                                                                                                                                                                                                                                                                           §
~                                             to that Coverage Module. In any event the highest applicable sublimit of liability shall be our maximum                                                                                                                                                                                                                                                                                           ~
~
:j!
                                              limit of liability for all loss from such failure of security.                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                                                                                                                                                                                §
~                                             With respect to this Coverage Module, our total liability for all loss arising from any and all failures of                                                                                                                                                                                                                                                                                        ~
I                                             security first occurring and reported to us during the policy period or any applicable extended reporting                                                                                                                                                                                                                                                                                          ~
~
~
                                              period, alleging any failure of security or series of continuous, repeated or related failures of security shall
                                              not exceed the applicable sublimit of liability, subject to the following:                                                                                                                                                                                                                                                                                                                        I
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                                                         (a) our total liability for covered business interruption loss per hour during the period of recovery (or
                                                             extended interruption period if applicable) from any and all covered failures of security is ten percent
                                                                                                                                                                                                                                                                                                                                                                                                                                                I~
:j!                                                          (10%) of the applicable sublimit of liability;                                                                                                                                                                                                                                                                                                                                      ~
:j!                                                                                                                                                                                                                                                                                                                                                                                                                                             §
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                                                         (b) our total liability for covered forensic expenses arising from each covered failure of security shall be
                                                             one hundred thousand dollars ($100,000); and
                                                         (c) our total liability for the sum of covered dependent business interruption loss and any extra expense
                                                             related thereto, arising from any and all covered failures of security, in the aggregate for this
                                                                                                                                                                                                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                                                                                                                                                                                 ~



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~                                                            Coverage Module, shall be one hundred thousand dollars ($100,000).                                                                                                                                                                                                                                                                                                                  ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                §
i                                          Loss or a failure of security arising out of the same failures of security, or a series of continuous,                                                                                                                                                                                                                                                                                                ~
i
~
                                           repeated or related failures of security shall be deemed to arise from the first such failure of security.                                                                                                                                                                                                                                                                                           I
I                         (5)              Business interruption loss is part of and subject to the policy limit of liability and the applicable sublimit of
                                                                                                                                                                                                                                                                                                                                                                                                                                                ::-
                                                                                                                                                                                                                                                                                                                                                                                                                                                 g
~                                          liability in this policy.                                                                                                                                                                                                                                                                                                                                                                             ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                ~
I           9.           RETENTION:   Solely with respect to the coverage afforded under this Coverage Module, in Clause 6.
                         RETENTION of the BASE Section, paragraph (a) is deleted in entirety and replaced with the following:                                                                                                                                                                                                                                                                                                                   I
~                                                                                                                                                                                                                                                                                                                                                                                                                                                5il
~                         (a)              Retention: For each failure of security, the insurer shall only be liable for the amount of loss arising from
~                                          such failure of security that exceeds the Retention amount applicable to this Coverage Module affording                                                                                                                                                                                                                                                                                               2
~~                                         coverage for such failure of security. Such Retention amounts must be borne by the insureds and remain                                                                                                                                                                                                                                                                                                ~
                                                                                                                                                                                                                                                                                                                                                                                                                                                 ?
:j!                                        uninsured with regard to all loss. In the event a failure of security triggers more than one Retention                                                                                                                                                                                                                                                                                                ~
2
~                                          amount, then, as to that failure of security, the highest of such Retention amounts shall be deemed the                                                                                                                                                                                                                                                                                              !§
i                                          Retention amount applicable to loss arising from such failure of security. A single Retention amount                                                                                                                                                                                                                                                                                                  ~

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                                           shall apply to loss arising from all failures of security alleging the same failures of security, or series of
                                           continuous, repeated or related failures of security. In our sole and absolute discretion, we may advance
                                           all or part of the applicable Retention amount in which case you agree to repay us immediately after we
                                                                                                                                                                                                                                                                                                                                                                                                                                                I
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~                                          notify you of that payment.                                                                                                                                                                                                                                                                                                                                                                           ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                §
~           10. RETENTION: Solely with respect to the coverage afforded under this Coverage Module, Clause 6.                                                                                                                                                                                                                                                                                                                                    §
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~
                RETENTION of the BASE Section is hereby amended by appending the following to the end of that                                                                                                                                                                                                                                                                                                                                     ~
~               paragraph:                                                                                                                                                                                                                                                                                                                                                                                                                       gEl
~                                                                                                                                                      5
~                         (b)              With respect to this Coverage Module, the applicable Retention is the greater of: (1) the dollar retention  .~
~                                          amount set forth in Item 4 of the Declarations or (2) the waiting hours retention. An organization is       g
~                                          responsible for the Retention whether based on the dollar retention or waiting hours retention amount,      il
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~
                                           and such organization may not insure it. The dollar retention amount applies to each failure of security
                                                                                                                                                       5
                                                                                                                                                       ~
~                                          or series of continuous, repeated or related failures of security. The waiting period retention applies to  "
i                                          each period of recovery. In the event a failure of security or series of continuous, repeated or related                                                                                                                                                                                                                                                                                              i
~                                          failures of security results in more than one period of recovery, a waiting hour retention shall apply toc,~~
~                                          each period of recovery.                                                                                    g
~                                                                                                                                                      ~
~                                          Provided, however, in the event a failure of security or series of continuous, repeated or related failures 5
I                                          of security results in coverage under this Coverage Module and any Information Asset Coverage Module
                                                                                                                                                                                                                                                                                              EXHIBIT C
                                                                                                                                                                                                                                                                                                                                                                                                                                                 I
~                                          (if applicable), for purposes of determining the applicable Retention for this Coverage Module, the dollar  ~

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1I                  policy shall not cover, net income that would likely have been earned as a result of an increase in volume of
                    business due to favorable business conditions caused by the impact of computer attacks on other
                                                                                                                                                                                                                                                                                                                                                                                                                 i~
2                   businesses. All such net profit (or loss) and charges and expenses shall be calculated on an hourly basis and                                                                                                                                                                                                                                                                                 !
                    based on such organization's actual net profit (or loss) and charges and expenses.                                                                                                                                                                                                                                                                                                            "

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2        15. EXPERT ASSESSMENT RIGHTS                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                  ~
~                                                                                                                                                                                                                                                                                                                                                                                                                 "
~                   Under this Coverage Module only, you and we each have the right to demand that the amount of loss be                                                                                                                                                                                                                                                                                          B
~~                  determined by an expert. If either you or we make a written demand for an expert opinion, each will select a                                                                                                                                                                                                                                                                                  s
                                                                                                                                                                                                                                                                                                                                                                                                                  5.



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II
                    competent independent expert and notify the other of the expert's identity within twenty (20) days of the                                                                                                                                                                                                                                                                                     g

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                    receipt of the written demand by the other party. The two experts will then select a competent, impartial
                    umpire. The experts will then determine and state separately the amount of each loss. If the experts submit
                    a written report and they agree to use the same amount, the amount agreed upon will be the amount of the
                                                                                                                                                                                                                                                                                                                                                                                                                  I~
                                                                                                                                                                                                                                                                                                                                                                                                                  s
~                   loss. If the experts fail to agree within a reasonable time, they will submit only their differences to the                                                                                                                                                                                                                                                                                   I
~                   umpire. Written agreement so itemized and signed by any two of these three will determine the amount of                                                                                                                                                                                                                                                                                       g
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                                                                                                                                                                                                                                                                                                                                                                                                                  B
I~                  the loss. Each expert will be paid by the party selecting the expert. Other expenses of the expert and the
                    compensation of the umpire will be paid equally by you and us. If such experts are used, we will still retain                                                                                                                                                                                                                                                                                 ~



I
                    our right to deny coverage.


                                                                                                                                                          < End of Module>                                                                                                                                                                                                                                        "
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                                                                                                               AIG netAdvantage®
i:i                                                                                                                                                                                                                                                                                                                                            ~
§                                                                                                                                                                                                                                                                                                                                             ~
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~                                                                                                                                                                                                                                                                                                                                             ~
!       1.        MODULAR FORMAT                                                                                                                                                                                                                                                                                                              ~
§
~                 This Criminal Reward Module is a part of an AIG netAdvantage Modular Edition policy comprised of the ~
                                                                                                                                                                                                                                                                                                                                              i
§                 following components: (i) the Declarations, (ii) a BASE Section, (iii) this Coverage Module, and (iv) if purchased, ~
2                                                                                                                                     .;
~                 other optional Coverage Modules. This Coverage Module affords no coverage except as part of a policy I'"
~                 comprised of the components set forth above. The terms, conditions, exclusions and other limitations set forth .
§~                in this Coverage Module are solely applicable to coverage afforded by this Coverage Module.

I      2.         BASE INSURING CLAUSES                                                                                                                                                                                                                                                                                                        !~_.
I~                Clause 2. Insuring Agreements, (i) the paragraph preceeding Coverage A, (ii) Coverage A, and (iii) Coverage B
                  of the BASE Section do not apply to and do not grant coverage under this Coverage Module.                                                                                                                                                                                                                                    ~
I      3.         CRIMINAL REWARD MODULE INSURING CLAUSE                                                                                                                                                                                                                                                                                      I
I~
.;
                  We may pay on your behalf, at our sole and absolute discretion, up to fifty thousand dollars ($50,000), in the
                  aggregate, as a criminal reward fund. No Retention shall apply to this coverage.
                                                                                                                                                                                                                                                                                                                                              I~

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II     4.         MODULE DEFINITIONS
                                                                                                                                                                                                                                                                                                                                              I~
§                                                                                                                                                    ~
~                 CR(a)                "Criminal reward fund" means any amount offered and paid by us for information that leads to the ~
I                                      arrest and conviction of any individual(s) committing or trying to commit any illegal act related to any ~
'"                                     coverage under this policy. Provided, however, we shall not pay any criminal reward fund for, and this :j
ffi
e                                      policy shall not cover any amount based upon, any information provided by you, your auditors, whether ~
                                                                                                                                                     ~
ffi                                    internal or external, any individual hired or retained to investigate the aforementioned illegal acts, or any ~
I                                      other individuals with responsibilities for the supervision or management of the aforementioned ~
I                                      individuals. This definition is subject to the limitations set forth in the Definition of loss.                                                                                                                                                                                                        I
g
;       5.        EXCLUSIONS                                                                                                                                                                                                                                                                                                                  1$_

I                 All BASE Section exclusions and all MODULE exclusions which are applicable to the Network Security Module,
I                 Network Security & Privacy Module, the Business Interruption Module, or the Information Asset Module (as                                                                                                                                                                                                                     ~
I.                applicable) shall apply to this coverage Module.                                                                                                                                                                                                                                                                            l-
Ei      6.        LIMIT OF LIABILITY (FOR ALL LOSS-INCLUDING CLAIM EXPENSES)
I
§
                  With respect to the coverage afforded under this Coverage Module, Clause 5. LIMIT OF LIABILITY of the BASE
                  Section is amended as follows:                                                                             ~
                                                                                                                                                                                                                                                                                                                                              I
§                                                                                                                                                                                                                                                                                                                                             s
"                 Subparagraph 5(a)(1) is deleted in its entirety and replaced with the following:                                                                                                                                                                                                                                             2
I
~
                  (1) The aggregate policy limit of liability set forth in the Declarations is the most we will pay as loss (other
                      than Criminal Reward Fund) under this policy, in the aggregate, for all coverages combined, regardless of                                                                                                                                                                                                               II
11                    the number of persons, occurrences, claims or entities covered by this policy, or claimants or claims
I
§
                      brought against any insured.
                                                               .
                                                                                                                                                                                                                                                                                                                                              I2
~                 Clause 5. is amended to include the following paragraph at the end of that paragraph:                                                                                                                                                                                                                                        ~
§
I.                CR(a)                Our total liability for any payment as a part of the criminal reward fund arising from any and all events ~
                                                                                                                                                                                                                                                                                                                                              i
I
-                                      occurring during the policy period, in the aggregate, shall be $50,000. This limit shall be our maximum ~
                                       liability under this policy regardless of the number of events, incidents, loss or claims reported during ;
~
~~
                                       the policy period. The criminal reward fund shall be in addition to the policy limit of liability.        ~
                                                                                                                                                                                                                                                                                             EXHIBIT C                                        i
       91101 (06/06)                                                                                                                                                   1                              © 2006 American International Group, Inc. All rights reserved.
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                                                                      EXHIBIT C
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                               Case 2:15-cv-02416-SVW-JPR Document 1-4 Filed 04/02/15 Page 39 of 79 Page ID #:535
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~                                                                                                                                                                                                                                                                                                                                                                                                                                                                            "
~                                                                   which an organization is legally liable, for the reasonable and necessary printing, advertising, ~
I                                                                   mailing of materials, expenses for travel by directors, officers, partners, employees or agents of the ~
22                                                                  organization or the crisis management firm, in connection with the crisis management event; and                                                                                                                                                                                                                                                                                                         I
                                                      (3) amounts incurred by an organization, within 180 days of an insured's discovery of a crisis                                                                                                                                                                                                                                                                                                                         ~
                                                          management event, for the reasonable and necessary printing, advertising, mailing of materials or                                                                                                                                                                                                                                                                                                                  5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             §
                                                          other costs to provide notice to consumers of a failure of security or personal identity event for the                                                                                                                                                                                                                                                                                                             §
1                                                         purposes of maintaining goodwill or in compliance with any consumer notification requirements                                                                                                                                                                                                                                                                                                                      §
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                                                          imposed by law, including but not limited to, the statute known as California SB 1386 (§ 1798.82,                                                                                                                                                                                                                                                                                                                  ~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ';;;j

§                                                         et. a/. of the California Civil Code).                                                                                                                                                                                                                                                                                                                                                                             5
~                                                                                                                                                                                                                                                                                                                                                                                                                                                                            §
~                                                    provided, however, crisis management expenses shall not include compensation, fees, benefits,                                                                                                                                                                                                                                                                                                                           ~
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                                                     overhead, charges or expenses of any insured or any employee.                                                                                                                                                                                                                                                                                                                                                           ~
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~                                                                                                                                                                                                                                                                                                                                                                                                                                                                            5
~                                                    This definition is subject to the limitations set forth in the Definition of loss.                                                                                                                                                                                                                                                                                                                                      5
~                                                                                                                                                                                                                                                                                                                                                                                                                                                                            2
~                       CM(c)                         "Crisis management firm" means any public relations firm, crisis management firm or law firm hired or                                                                                                                                                                                                                                                                                                                  ~
I                                                     appointed by us, or by you with our prior written consent, to perform crisis management services in                                                                                                                                                                                                                                                                                                                    i
I                                                     connection with a crisis management event.                                                                                                                                                                                                                                                                                                                                                                             ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ~
~                       CM(d) "Crisis management fund" means the amount set forth as the applicable sublimit of liability for this g
I                             Coverage Module in Item 4 of the Declarations.                                                       ~
2~                      CM(e)                        "Crisis management services" means those services performed by a crisis management firm in advising §     5
                                                     an organization or any of its directors, officers, partners or employees, on minimizing potential harm to g
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                                                     the organization arising from the crisis management event, including, without limitation, maintaining
                                                     and restoring public confidence in the organization.                                                      '='
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                        CM(f)                         "Identity event service expenses" means reasonable fees and expenses incurred by an organization,
                                                      within one (1) year following your discovery of an otherwise covered personal identity event that first g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             5


~                                                     occurred during the policy period, for identity theft education and assistance, credit file monitoring g
I                                                     services, or any other service specifically approved by us in writing. Such services shall be provided to ~
@                                                     any individual whose personal identification is the subject of a personal identity event and shall be for §
I                                                     the primary purpose of mitigating the effects of such personal identity event.                            ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ~
~                        CM(g) "Personal identification" means any information from which an individual may be uniquely and reliably §
I                              identified, including without limitation, an individual's name, address, telephone number, social security ~
~                              number, account relationships, account numbers, account balances, account histories and passwords.         ~

I                        CM (h) "Personal identity event" means any event involving an organization that has or could reasonably result                                                                                                                                                                                                                                                                                                                                      I
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...
                                in the disclosure and fraudulent use of personal identification, that is or was in the care, custody or
                                control of an insured.
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@         5.             EXCLUSIONS                                                                                                                                                                                                                                                                                                                                                                                                                                           ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '5
~                       All BASE Section exclusions and all MODULE exclusions which are applicable to the Security Liability Module,                                                                                                                                                                                                                                                                                                                                          ~
~                       the Security & Privacy Liability Module, the Business Interruption Module" or the Information Asset Module (as g
~                       applicable) shall apply to this coverage Module.                                                               ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                                             5
~ 6. LIMIT OF LIABILITY                                                                                                                                                                                                                                                                                                                                                                                                                                                       ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ::
~                       With respect to the coverage afforded under this Coverage Module, Clause 5. LIMIT OF LIABILITY of the BASE B
~                       Section is amended as follows:                                                                             ~
~~                       Subparagraph 5(a)(1) is deleted in its entirety and replaced with the following:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              :;
~                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ;
~                        (1) The aggregate policy limit of liability set forth in the Declarations is the most we will pay as loss (including                                                                                                                                                                                                                                                                                                                                 ~
~..                          crisis management expenses and idfenhtity event sefrvice expenses) under this policy, in ~h.e aggregatde'bfor all                                                                                                                                                                                                                                                                                                                                ~.Jc~.:,.
~                            coverages combined, regardless 0 t e number 0 persons, occurrences, claims or entities covere              y this                                                                                                                                                                                                                                                                                                                                :;
~                            policy, or claimants or claims brought against any insured.                                                                                                                                                                                                                                                                                                                                                                                      ~
I                        Clause 5. is amended to include the following paragraph at the end of that paragraph:                                                                                                                                                                                                                                                                                                                                                                ~
~                                                                                                                                                                                                                                                                                                                                                                                                                                                                             j
~                        CM(a)                        Our total liability for all crisis management expenses and identity event service expenses arising from ,~
~                                                     any and all crisis management events occurring during the policy period, in the aggregate, shall be the ~
~
                                                                                                                                                                                                                                                                                                                       EXHIBIT C g
~                                                                                                                                                                                                                                                                               © 2006 American International Group, Inc. All rights reserved. g
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~                                                crisis management fund, less the coinsurance percentage listed in the policy DECLARATIONS. This ~
~                                                limit shall be our maximum liability under this policy regardless of the number of crisis management ~
~                                                events reported during the policy period. The crisis management fund shall be in addition to the policy ~
~                                                limit of liability.                                                                                     ~

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        7. CRISIS MANAGEMENT COVERAGE PROVISIONS
                      (a) A crisis management event shall be reported to us as soon as practicable, but in no event later than thirty ~
                                                                                                                                                                                                                                                                                                                                                                                                                                      5
                                                                                                                                                                                                                                                                                                                                                                                                                                      ,~!

~                         (30) days after the named insured first incurs crisis management expenses for which coverage will be ~
I                         requested under this policy.                                                                                                                                                                                                                                                                                                                                                                                i
~                     (b) There shall be no requirement for the named insured to obtain our prior written approval before -incurring ~
2                         any crisis management expenses, provided that the crisis management firm selected by the named insured 5
I                         to perform the crisis management services has been approved by us.                                         ~
I                                                                                                                                                                                                                                                                                                                                                                                                                                     I~
                                                                                                                                                                                                                                                                                                                                                                                                                                     I
                      (c) Solely with respect to identity event services expenses, before coverage will apply under this policy, the
                          insured shall notify us in writing as soon as practicable but no later than sixty (60) days after first




II
                          discovery of the personal identity event by an insured. Notice must include,

                                                               1.           How, when, and where the personal identity event took place;                                                                                                                                                                                                                                                                                               5
                                                               2. The number of individuals and type of personal identification involved in the personal identity "5
~                                                                                                                                                                 "~
?                                                                 event; and
~                                                              3.           Upon request by us, the names and addresses of individuals affected by the personal identity 5
                                                                            event.                                                                                                                                                                                                                                                                                                                                                    I
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                                                                                                                                                                                    < End                 of Module >                                                                                                                                                                                                                  ~
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~ 90823 (05/06)                                                                                                                                                                                                   3
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Case 2:15-cv-02416-SVW-JPR Document 1-4 Filed 104/02/15 Page 41 of 79 Page ID #:537
                              ENDORSEMENT#

  This endorsement, effective    12: 01 am     March 8, 2007            forms a part of
  policy number 966-95-20
  issued to   OFFICE DEPOT,     INC.

  by      American International Specialty Lines Insurance Company

                                COMPUTER CRIME ENDORSEMENT
                                       AIG netAdvantage

          This endorsement amends the INFORMATION ASSET Module of the policy.

  In consideration of the premium charged, it is hereby understood and agreed that the
  INFORMATION ASSET module of the policy is amended as follows:
  (1)    Unless otherwise set forth, the terms and conditions contained in this Endorsement
         shall apply only to coverage extended by virtue of this Endorsement.         Unless
         otherwise stated the terms, conditions, and exclusions of the policy to which this
         Endorsement is endorsed also apply to the coverage extended by virtue of this
         Endorsement. The coverage provided under this Endorsement is provided on a
         difference in conditions basis.

  (2)    Solely with respect to the coverage afforded under this endorsement, CLAUSE 3,
         INFORMATION ASSET MODULE INSURING CLAUSE is hereby deleted in its entirety
         and replaced with the following:

         INFORMATION ASSET MODULE INSURING CLAUSE
         IA (1)   We shall pay an organization the actual information asset loss that such
                  organization sustains, in excess of the applicable Retention, resulting
                  directly from injury to information assets first occurring during the policy
                  period. Such information asset loss must first occur during the policy
                  period and result from a failure of security of your computer system that
                  also first occurs during the policy period.
         IA (2)    We will pay an organization the actual computer crime loss that such
                    organization sustains, in excess of the applicable Retention, resulting
                    directly from a computer theft first occurring during the policy period.
                  , Such computer crime loss must first occur during the policy period and
                    result from a failure of security of your computer system that also first
                    occurs during the policy period.

  (3)    Solely with respect to the coverage afforded under this endorsement, CLAUSE 5.,
         MODULE DEFINITIONS, is hereby amended by adding the following definitions to
         the end of that Clause:
         CR-A.    Computer crime loss means the amount of money or securities lost as the
                  result of computer theft, as valued pursuant to the paragraph 7 (Valuation
                  of Money and Securities) of this Endorsement. This definition is subject to
                  the limitations set forth in the Definition of loss.




                                                                                     EXHIBIT C
                                                                                     PAGE 537
                                   END 1
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                              ENDORSEMENT# 1        {Continued}


  This endorsement, effective   12: 01 am      Maf'ch 8, 2007            forms a part of
  policy number 966-95-20
  issued to   OFFICE DEPOT,     INC.

  by      Amef'ican Intef'national Specialty lines Insuf'ance Company



         CR-B.    Computer theft means the intentional and unlawful misappropriation of
                  money or securities from you resulting directly from the use of your
                  computer system by an unauthorized person.

         CR-C.    Difference in conditions means subject to all other terms and conditions set
                  forth herein, coverage applies when the covered computer crime loss,
                  perils definitions, and conditions set forth herein are broader in meaning or
                  scope than those of an Insured's valid and collectible other insurance; and
                  only in that event, does this insurance become primary insurance. In all
                  other circumstances, this insurance shall be excess over an Insured's valid
                  and collectible other insurance.

         CR-D.    Losses Discovered or discovered means the actual time at which your
                  General Counsel, Risk Management Department, management of the IT/IS
                  Department, Internal Audit Department, officer or director became aware
                  that computer theft has occurred.

         CR-E.    Money means the following which are owned by you or in your possession:
                  (1) currency, coins and bank notes in current use and having a face value;
                  (2) travelers checks, registered checks and money orders held for sale to
                  the public; (3) and electronic cash equivalents of (1) and (2).

         CR-F.    Securities means the following which are owned by you or in your
                  possession: shares, stock, debentures, debenture loan stock, bonds, and
                  any other security of any description and interests in a security, whether
                  the foregoing is certificated or uncertificated. Securities do not include
                  money.

  (4)    Solely with respect to the coverage afforded under this endorsement, in CLAUSE
         5., MODULE DEFINITIONS, PARAGRAPH IA (a), " failure(s) of security" is deleted in
         its entirety and replaced by:

         IA (a) "Failure(s) of security" means:

                 (1)   As respects information asset loss, the actual failure and inability of
                       the security of your computer system to mitigate loss from or prevent
                       a computer attack. " Failure of security" shall also include such actual
                       failure and inability above, resulting from the theft of a password or



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                      access code by non-electronic means in direct violation of           an
                      organization's specific written security policies or procedures.

                (2)   As respects computer crime loss, the actual failure and inability of the
                      security of your computer system to mitigate loss from or prevent a
                      computer theft.

  (5)    Solely with respect to the coverage afforded under this endorsement, CLAUSE 4.,
         BASE DEFINITIONS, is deleted in its entirety and replaced with the following:.,

         CLAUSE 4. BASE DEFINTIONS

         Solely with respect to the coverage afforded under this Coverage Module, the
         definitions of the BASE Section are hereby deleted and replaced, or amended (as
         applicable) as follows:

         " Loss" is amended by replacing the first sentence entirely and the lead in language
         of the second sentence as follows:

               Loss means the total sum of any damages, claim expenses, extortion
               monies, information asset loss, business interruption loss, criminal reward
               fund, computer crime loss and crisis expenses.              However," loss,"
               " damages," " claim expenses," " extortion monies," " information asset loss,"
               " business interruption loss," " criminal reward fund," " computer crime loss"
               and" crisis expenses" shall not mean, and this policy shall not cover:

                "First inception date" is amended by adding the following to the end of that
                definition:

                       For purposes of Coverage IA(2), first inception date means the
                       inception date of the first computer or electronic crime, computer
                       theft or computer crime, policy or endorsement issued by us or any
                       other member company of American International Group, Inc. ("AIG")
                       to the named insured and continually replaced by us or any other AIG
                       member company until the inception date of this policy that provides
                       substantially equivalent coverage as is provided by this endorsement




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  (6)    Solely with respect to the coverage afforded under this endorsement, CLAUSE 7,
         MODULE EXCLUSIONS, is hereby amended by adding the following to the end of
         that Clause

         with respect to Coverage IA(2) only, we will not cover any computer crime loss or
         loss arising out of or resulting, directly or indirectly, from:

         CR-A.    forged, altered or fraudulent negotiable instruments, securities, money,
                  documents, or written instruments used as source documentation, or
                  manually keyed into your computer system;

         CR-B.    indirect or consequential loss, including without limitation potential income
                  or lost business opportunities;

         CR-C     any loss resulting from the unauthorized access or use of your telephone
                  system;

         CR-D.    any loss resulting directly or indirectly from the use or purported use of
                  credit, debit, charge, access convenience, customer identification or other
                  cards; or

                  With respect to Coverage IA(2) only, we will not cover any computer crime
                  loss or loss

        CR-E.    the proof which as to its existence or amount is solely dependent on:

                   (1 )    an inventory computation or comparison; or
                   (2)     a profit and loss computation or comparison;

  (7)    Solely with respect to the coverage afforded under this endorsement, the following
         CLAUSES are added at the end of the INFORMATION ASSET Module.

         15.     Valuation of Money and Securities

                 (1)      Covered computer crime loss consisting of lost money shall be valued
                          at the face value of the lost money less the value of any money
                          recovered after the computer theft. With respect to money, we may
                          choose at our sole discretion to pay computer crime loss in the
                          currency of the country to which the computer theft relates or in the



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                      United States dollar equivalent determined by the rate of exchange as
                      published by the Wall Street Journal on the day the computer theft
                      was discovered.

              (2)     Covered computer crime loss consisting of lost securities shall be
                      valued at the market value of said securities as published by the Wall
                      Street Journal at the close of business on the day the applicable
                      computer theft was discovered, less the value of any securities
                      recovered as determined by the value published in the Wall Street
                      Journal at the close of business on the day said securities were
                      recovered; provided, however, in our sole discretion, we may pay the:

                       (a)     value of such securities or replace them in kind, in which event
                               you must assign to us all your rights, title and interest in and
                               to such securities; or
                       (b)     cost of any lost securities bond required in connection with
                               issuing duplicates of the securities.

                      In no event shall the value of securities be determined based on loss
                      or change of market value because of your inability to sell or buy
                      securities as the result of the computer theft.

        16.    limit of Liability

               Regardless of the number of years this insurance remains in force or the
               number of premiums paid, no limit of liability cumulates from year to year or
               period to period. Coverage for loss as is provided under this Endorsement is
               part of and not in addition to the applicable subllmhls) of liability for this
               Module and the policy limit of liability as set forth in the policy.

        17.    limited Benefit

               This coverage is for your benefit only.    It provides no rights or benefits to
               any third party.

        18.    Recovered Money or Securities

               In the event you recover any money or securities that was the subject of a
               covered computer theft, after we have paid you for computer crime loss
               related to such money or securities, you shall reimburse us the amount paid




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               by us for such recovered money or securities within thirty (30) days of such
               recovery.

         19.   Difference in Conditions

               Notwithstanding Clause 14. of the Base Section (Other Insurance), coverage
               for computer theft is specifically written on a difference in conditions basis.
               It is a condition of this policy that all other applicable insurance policies or
               replacements thereof in force at the inception of this policy will be
               maintained in full force and effect during the term of this policy or
               notification will be made to us within ninety (90) days of such change. In the
               event of such notification, we shall have the right to modify this policy or
               make adjustments to the premium if we reasonably deem that such policy
               changes or premium adjustments are necessary, and such modifications or
               adjustments shall apply to all loss discovered after the effective time of the
               failure to maintain.

  (8)    Solely with respect to the coverage afforded under this endorsement, CLAUSE 13.
         COVERAGE MODULE EXTENDED REPORTING PERIOD, is deleted in its entirety and
         replaced with the following:

         13.   COVERAGE MODULE EXTENDED REPORTING PERIOD

               If we or the named insured shall cancel this policy or refuse to replace this
               policy, you shall have up to one (1) year following the effective date of such
               cancellation or refusal to discover and report to us any covered loss under
               coverages IA(1).

               Under coverage fA(2), if we or the first Named Insured refuses to renew this
               policy, the first Named Insured shall have the right, upon the payment of an
               additional premium of 75% of the annual premium as set forth in the
               Declarations, to a period of ninety days (90) following the effective date of
               such non-renewal (herein referred to as the "Optional Extended Reporting
               Period") in which to give us written notice to us of any otherwise covered
               computer theft that first occurred and was discovered by you during the
               policy period. The rights contained in this paragraph shall terminate,
               however, unless we receive written notice of such election, together with
               the additional premium due, within thirty (30) days of the effective date of
               non-renewal. This paragraph shall not apply to any cancellation resulting
               from non-payment of premium. The limit of liability for the Extended



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                Reporting Period shall be part of, and not in addition to, the policy limit of
                liability and applicable sublimits of liability for Policy Period. A renewal with
                different terms or premium shall not be a refusal to renew this policy.


       ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS SHALL REMAIN UNCHANGED.




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              IDENTITY THEFT CALL CENTER SERVICES COVERAGE ENDORSEMENT

          This endorsement modifies the Security & Privacy Liability Module of the policy

  In consideration of the premium charged, it is hereby understood and agreed that "Identity
  Theft Services Coverage" is added to the Security & Privacy Liability Module as described
  below by amending the policy as follows. The terms, conditions, exclusions and other
  limitations set forth in this endorsement are solely applicable to coverage afforded by this
  endorsement, and do not modify the terms, conditions, exclusions and other limitations
  contained in the policy unless specifically set forth herein. Unless otherwise set forth
  herein, the terms, conditions, exclusions and other limitations contained in the policy apply
  to the coverage provided by this endorsement:

  1.(0).    INSURING AGREEMENT

            In the event of an otherwise covered failure of security or privacy peril under the
            SEC/PRV Module that results in identity theft, subject to the aggregate limit set
            forth in clause 4.(0) below, we shall provide to identity victims under this
            endorsement the AIG Identity Theft Services Call Center. The AIG Identity Theft
            Services Call Center shall be provided only for the duration of the service period.

  2.(0)     DEFINITIONS

            A.     Identity victims means those natural persons who are customers, members
                   or employees of the named insured or any subsidiary thereof; provided,
                   however, it is represented by the named insured that such persons will not
                   exceed 40,000 persons anytime during the policy period.

            B.     AIG Identity Theft Services Call Center means:

                    (1)   access to a call center through a United States toll-free telephone
                          number where trained identity theft specialists will provide
                          information to identity victims about:

                           (a)   the computer attack or privacy peril which resulted in the
                                 identity theft ( we will make this information available only if
                                 requested by the named insured);

                           (b)   actions that identity victims may take to mitigate          the
                                 possible adverse effects of the identity theft; and




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                 (2)    an "Identity Theft Prevention Kit" containing written information
                        describing actions that identity victims may take to mitigate the
                        possible adverse effects of the identity theft.

           c.    Service period means a period ending the earlier of:

                 (1 )   the end of the policy period,

                 (2)    when the cumulative call minutes of all in-bound and outbound calls
                        to or from all identity victims combined exceed 40,000.

                        In the event the service period ends prior to the end of the policy
                        period, then the named insured may request at their own cost that a
                        recording providing information about the computer attack or
                        privacy peril at issue and basic identity theft prevention information
                        for the remainder of the policy period.

  3.(10)   OBLIGATIONS OF THE INSURED

           As a condition for coverage to under this endorsement the named insured shall:

           A.    provide to the call center information about the computer attack or privacy
                 peril at issue, as well as information which can be provided by the call
                 center as to where to direct identity victims for more information about the
                 event. Provided, however, that the named insured shall only have this
                 obligation if it has opted to have the call center provide this information as
                 indicated above.

           B.     be responsible for making identity victims aware of the appropriate Insured
                  Identifier which will be used to identify the insured person as covered
                  under this endorsement, and call center telephone number as set forth
                  below:

                                 Insured Identifier: 9669520
                U.S. toll-free phone number: 1-800-IOHELP2 (or 1-800-434-3572)
                  (or such successor or replacement number as we may advise you)




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           C.     in the event the named insured desires to increase the represented number
                  of identity victims during the policy period, transmit complete, accurate
                  and timely data to us in order for us to compute additional premium. The
                  provision of access to the AIG Identity Theft Services Call Center for
                  additional identity victims shall be at our sole and absolute discretion.

  4.(10)   CALL CENTER MINUTES AGGREGATE LIMIT

           The most call center minutes we shall provide with respect to the coverage under
           this endorsement, in the aggregate, regardless of the number of failures of
           security, privacy peril or identity victims, shall be the number of minutes set forth
           in Clause 2.(10). Paragraph C.(2) of this endorsement.

  5.(10)   OTHER PROVISIONS AFFECTING COVERAGE

           A.     Unless otherwise stated, the terms, conditions, exclusions and other
                  limitations set forth in this endorsement are solely applicable to coverage
                  afforded under this endorsement.

           B.     All other bolded terms used herein are used with the same respective
                  meanings as set forth in the policy unless otherwise stated. This
                  endorsement is subject to all applicable terms, conditions, exclusions and
                  other limitations set forth in the policy.




       ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




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        BUSINESS INTERRUPTION HOURLY SUB-LIMIT AMENDATORY ENDORSEMENT

        This endorsement amends the BUSINESS INTERRUPTION Module of the policy.

  In consideration of the premium charged, it is hereby understood and agreed that the policy
  is amended as follows:

                                            SCHEDULE

         BUSINESS INTERRUPTION HOURLY SUBLIMIT:                     $500,000

  (1)    CLAUSE 8 of the BUSINESS INTERRUPTION Module, is hereby deleted and replaced
         with the following:

         8.     LIMIT OF LIABILITY (FOR ALL LOSS - INCLUDING CLAIMS EXPENSES),
                Solely with respect to the coverage afforded under this Coverage Module, in
                Clause 5. LIMIT OF LIABILITY (FOR ALL LOSS - INCLUDING CLAIMS
                EXPENSES) of the BASE Section paragraph (a), subsections (2) and (5) are
                deleted in their entirety and replaced with the following:

                (2)    Each sublimit of liability set forth in the Declarations as applicable to a
                       specific Coverage Module is the most we shall pay under this policy
                       as loss in respect of such Coverage Module regardless of the number
                       of persons, occurrences, claims, failures of security or entities
                       covered by this policy, claimants or claims brought against any
                       insured, subject to the following:
                       If two or more Coverage Modules apply to loss and the amount of the
                       sublimits of liability differ, the most we will pay for loss covered by
                       any single Coverage Module is the sublimit of liability applicable to
                       that Coverage Module. In any event the highest applicable sublimit of
                       liability shall be our maximum limit of liability for all loss from such
                       failure of security.
                       With respect to this Coverage Module, our total liability for all loss
                       arising from any and all failures of security first occurring and
                       reported to us during the policy period or any applicable extended
                       reporting period, alleging any failure of security or series of
                       continuous, repeated or related failures of security shall not exceed
                       the applicable sublimit of liability, subject to the following:
                       (a)     our total liability for covered business interruption loss per hour
                               during the period of recovery (or extended interruption period if



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                                applicable) from any and all covered failures of security is the
                                lesser of:
                                i.       ten percent (10%) of the applicable sublimit of liability;
                                         or,
                                ii.      The dollar amount listed in     the SCHEDULE of this
                                         endorsement.

                      (b)       our total liability for covered forensic expenses arising from
                                each covered failure of security shall be five hundred thousand
                                dollars ($500,000); and

                      (c)       our total liability for the sum of covered dependent business
                                interruption loss and any extra expense related thereto, arising
                                from any and all covered failures of security, in the aggregate
                                for this Coverage Module, shall be five hundred thousand
                                dollars ($500,000).

                                Loss or a failure of security arising out of the same failures of
                                security, or a series of continuous, repeated or related failures
                                of security shall be deemed to arise from the first such failure
                                of security.

                (5)   Business interruption loss shall be part of and not in addition to the
                      policy limit of liability and the applicable sublimit of liability in this
                      policy.



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                        EXTRA EXPENSE AMENDATORY ENDORSEMENT

        This endorsement amends the BUSINESS INTERRUPTION Module of the policy.

  In consideration of the premium charged, it is hereby understood and agreed that the
  BUSINESS INTERRUPTION MODULE is amended as follows:

  (1)    CLAUSE 5., DEFINITIONS, PARAGRAPH BI (g) " extra expense" is hereby deleted in
         its entirety and replaced with the following:

         BI (g)   Extra expense means the expenses an organization incurs that are both
                  reasonable and necessary during the period of recovery:

                  (1)    to reduce its income loss, provided that such expenses:

                         (a)   are over and above the total reasonable and necessary
                               expenses that such organization would have incurred had no
                               material interruption occurred; and

                         (b)    do not exceed the amount by which the income loss covered
                                under this policy is thereby reduced;

                  (2)    to minimize or avoid the material interruption and continue such
                         organization's business, which would not have been incurred had no
                         material interruption occurred;     provided, however, that such
                         expenses shall not include forensic expenses;

                  (3)    as forensic expenses, which would not have been incurred had no
                         material interruption occurred; or

                  (4)    to remove specific identified malicious code, provided that:

                         (a)    the failure to remove such malicious code would cause or
                                increase such organization's income loss; and

                         (b)    the costs associated with the removal of such malicious
                                code do not exceed the    amount of income loss that such
                                removal prevented.




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                     Provided, however, that with respect to any material interruption
                     caused by a failure of security of an organization's dependent
                     business, extra expense shall be limited to those expenses described
                     in above subparagraph (1) of this paragraph.


       ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




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                  "EMPLOYEE" DEFINITION AMENDATORY ENDORSEMENT

                  This endorsement amends the BASE Section of the policy.

  In consideration of the premium charged, it is hereby understood and agreed that in Clause
  3. DEFINITIONS, paragraph (k).    employee, is amended to include the following at the
                                      II          II


  end thereof:

        Employee also means any past, present or future officer, director or trustee of the
        organization, but only while acing within the scope of their duties as such, and in
        furtherance of or on behalf of the legal interests of the organization.


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  by      Amepican lntepnational Specialty lines lnsupance Company

                      FRAUD EXCLUSION AMENDATORY ENDORSEMENT

                  This endorsement amends the BASE Section of the policy.

  In consideration of the premium charged, it is hereby understood and agreed that in Clause
  4. EXCLUSIONS, paragraph (a) is deleted in its entirety and replaced with the following:

  (a)    alleging, arising out of or resulting, directly or indirectly, from any dishonest,
         fraudulent, criminal or malicious act, error or omission, or any intentional or knowing
         violation of the law or of your privacy policy, or gaining of any profit or advantage
         to which you or any additional insured is not legally entitled, if any of the
         aforementioned is committed by any of your or any additional insured's:

         (1)    directors, officers, trustees, governors, management committee members,
                members of the management board or partners (or the equivalent positions),
                whether acting alone or in collusion with other persons; or

         (2)    employees (other than those natural persons referenced in sub-paragraph
                4.(a)(1) above) or independent contractors employed by you or any additional
                insured if any of those natural persons referenced in sub-paragraph 4.(a)( 1)
                above possessed, at any time, knowledge of any dishonest, fraudulent,
                malicious, or criminal acts committed by such employee or independent
                contractor that caused a direct loss to an insured or any other person;


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                         FRAUD EXCLUSION AMENDATORY ENDORSEMENT

         This endorsement amends the INFORMATION ASSET Module of the policy.

  In consideration of the premium charged, it is hereby understood and agreed that the policy
  is amended as follows:

  1.     Clause 6. BASE EXCLUSIONS of the INFORMATION ASSET Module is deleted in its
         entirety and replaced with the following:

         6.      BASE EXCLUSIONS
                 The Exclusions set forth in Clause 4 of the BASE Section are not applicable
                 to this Coverage Module, except for the following paragraphs: 4(d) (pollution
                 exclusion); 4(j) ( bodily injury/property damage exclusion); 4(f) ( trade secrets);
                 4(1) (first inception); 4(q)(satellite exclusion); 4(s) (physical damage
                 exclusion); and, 4(t) (known shortcomings exclusion)


  2.     Clause 7. MODULE EXCLUSIONS of the INFORMATION ASSET Module is amended
         to include the following at the end thereof:

         IA(d)    alleging, arising out of or resulting, directly or indirectly, from any
                  dishonest, fraudulent, criminal or malicious act, error or omission, or any
                  intentional or knowing violation of the law or of your privacy policy, or
                  gaining of any profit or advantage to which you or any additional insured is
                  not legally entitled, if any of the aforementioned is committed by any of
                  your or any additional insured's:

                   (1)     directors, officers, trustees, governors, management committee
                           members, members of the management board or partners (or the
                           equivalent positions), whether acting alone or in collusion with other
                           persons; or
                   (2)     employees (other than those natural persons referenced in
                           sub-paragraph IA(d)( 1) above) or independent contractors employed
                           by you or any additional insured if any of those natural persons
                           referenced in sub-paragraph IA(d)( 1) above possessed, at any time,
                           knowledge of any dishonest, fraudulent, malicious, or criminal acts
                           committed by such employee or independent contractor that caused
                           a direct loss to an insured or any other person;




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                                    END 7
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                             ENDORSEMENT# 7        (Continued)


 This endorsement, effective   12:01 am     Mapch 8, 2007            forms a part of
 policy number 966-95-20
 issued to   OFFICE DEPOT,     INC.

  by     Amepican Intepnational Specialty lines Insupance Company



                provided, however, we will defend suits alleging any of the foregoing
                conduct until there is a judgment against, final adjudication against,
                adverse finding of fact against, adverse admission, at which time you shall
                reimburse us for claim expenses; provided, however, we will not defend
                such suits if they allege any of the foregoing conduct which has been the
                subject of a criminal proceeding in which an insured has been found guilty,
                or pleaded nolo contender or no contest;


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                                                          ~~,                EXHIBIT C
                                                         AUTHORIZED ~RESENTATIVE
                                                                             PAGE 558
                                  END 7         Or Countersignature (In states where applicable)
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                             ENDORSEMENT#

 This endorsement, effective     12:01 am        Maf'ch 8, 2007             forms a part of
 policy number 966-95-20
 issued to   OFFICE DEPOT,       INC.

  by      Amef'ican Intef'national Specialty Lines Insuf'ance Company

                         FRAUD EXCLUSION AMENDATORY ENDORSEMENT

       This endorsement amends the BUSINESS INTERRUPTION Module of the policy.

  In consideration of the premium charged, it is hereby understood and agreed that the policy
  is amended as follows:

  1.     Clause 6. BASE EXCLUSIONS of the BUSINESS INTERRUPTION Module is deleted
         in its entirety and replaced with the following:

         6.      BASE EXCLUSIONS
                 The Exclusions set forth in Clause 4 of the BASE Section are not applicable
                 to this Coverage Module, except for the following paragraphs: 4(d) (pollution
                 exclusion); 4(f) ( trade secret); 4(j) ( bodily injury/property damage exclusion);
                 4(1) (first inception); 4(q)(satellite exclusion); 4(s) (physical damage
                 exclusion); and, 4(t) (known shortcomings exclusion)


  2.     Clause 7. MODULE EXCLUSIONS of the BUSINESS INTERRUPTION Module is
         amended to include the following at the end thereof:

         Bl(d)    alleging, arising out of or resulting, directly or indirectly, from any
                  dishonest, fraudulent, criminal or malicious act, error or omission, or any
                  intentional or knowing violation of the law or of your privacy policy, or
                  gaining of any profit or advantage to which you or any additional insured is
                  not legally entitled, if any of the aforementioned is committed by any of
                  your or any additional insured's:
                   (1)     directors, officers, trustees, governors, management committee
                           members, members of the management board or partners (or the
                           equivalent positions), whether acting alone or in collusion with other
                           persons; or
                   (2)     employees (other than those natural persons referenced in
                           sub-paragraph Bl(d)( 1) above) or independent contractors employed
                           by you or any additional insured if any of those natural persons
                           referenced in sub-paragraph Bl(d)( 1) above possessed, at any time,
                           knowledge of any dishonest, fraudulent, malicious, or criminal acts
                           committed by such employee or independent contractor that caused
                           a direct loss to an insured or any other person;




                                                                                          EXHIBIT C
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                                    END 8
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                                       ENDORSEMENT#   8       (Continued)


  This endorsement, effective   12:01 am     Maf'ch 8, 2007            forms a part of
  policy number 966-95-20
  issued to   OFFICE DEPOT,     INC.

  by      Amef'ican Intef'national Specialty Lines Insuf'ance Company



                 provided, however, we will defend suits alleging any of the foregoing
                 conduct until there is a judgment against, final adjudication against,
                 adverse finding of fact against, adverse admission, at which time you shall
                 reimburse us for claim expenses; provided, however, we will not defend
                 such suits if they allege any of the foregoing conduct which has been the
                 subject of a criminal proceeding in which an insured has been found guilty,
                 or pleaded nolo contender or no contest;


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                                                                                   PAGE 560
                                  END 8
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                             ENDORSEMENT# 9

 This endorsement, effective   12:01 am      Maf'ch 8, 2007           forms a part of
 policy number 966-95-20
 issued to   OFFICE DEPOT,     INC.

 by      Amef'ican Intef'national Specialty lines Insuf'ance Company

                        CLAIM DEFINITION AMENDATORY ENDORSEMENT

                 This endorsement amends the BASE Section of the policy.

 In consideration of the premium charged, it is hereby understood and agreed that in Clause
 3. DEFINITIONS, paragraph (e), "claim," is deleted in its entirety and replaced with the
 following:

 (e)    " Claim" means:

        (1)   a written demand for money, services, non-monetary relief or injunctive
              relief; or

        (2)   a suit.


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                             ENDORSEMENT# 10

 This endorsement, effective    12:01 am        Maf1ch 8, 2007             forms a part of
 policy number 966-95-20
 issued to   OFFICE DEPOT,      INC.

  by      Amef1ican Intef1national Specialty lines Insuf1ance Company

                NOTICE OF CLAIM PROVISION AMENDATORY ENDORSEMENT

                  This endorsement amends the BASE Section of the policy.

  In consideration of the premium charged, it is hereby understood and agreed that in Clause
  7. notice and authority of the BASE Section, Subparagraph 7(b)(2)(a) is deleted in its
  entirety and replaced with the following:

  (a)    before coverage will apply, an insured must notify us in writing of a claim made
         against an insured as soon as practicable after notice of such claim is reported to
         any personnel in your office of the (i) General Counsel; (ii) Chief Financial Officer; or
         (iii) Chief Executive Officer; (iv) Risk Manager; or (v) Chief Security Officer, but in
         all events, for coverage under this policy, all claims shall be reported no later than
         the end of the policy period or any applicable extended reporting period;


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                                                              ~~' EXHIBIT C
                                                             AUTHORIZED ~RESENTATIVE   PAGE 562
                                   END 10            Or Countersignature (In states where applicable)
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                                      ENDORSEMENT#       11

 This endorsement, effective   12: 01 am       Maf'ch 8, 2007             forms a part of
 policy number 966-95-20
 issued to   OFFICE DEPOT,     INC.

 by      Amef';can Intef'nat;onal Specialty lines Insuf'anceCompany

                 CONSENT TO SETTLEMENT AMENDATORY ENDORSEMENT

                 This endorsement amends the BASE Section of the policy.

 In consideration of the premium charged, it is hereby understood and agreed that in Clause
 2. INSURING AGREEMENTS of the BASE Section, paragraph (5) of Coverage B is deleted
 in its entirety and replaced with the following:

 (5)    When OUf Duty To Defend Ends: Our duty to defend ends upon the exhaustion of
        the policy limit of liability or the applicable sublimit of liability by payment of loss,
        including claim expenses. Our duty to defend also ends if you fail or refuse to
        consent to a settlement we recommend and the claimant will accept. You must
        then defend the claim at your own expense. As a consequence of such failure or
        refusal, our liability for loss shall not exceed the amount for which we could have
        settled such claim had you consented, plus claim expenses incurred prior to the
        date of such failure or refusal, plus fifty percent (50%) of the claim expenses
        incurred with our consent after the date of such refusal.

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                                                              A£~~-R~--S-E-NTATIVE
                                                                                         EXHIBIT C
                                                                                         PAGE 563
                                  END 11            Or Countersignature (In states where applicable)
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                                      ENDORSEMENT#       12

 This endorsement, effective    12: 01 am       Maf'Ch 8, 2007            forms a part of
 policy number 966-95-20
 issued to   OFFICE DEPOT,     INC.

 by       Amepican Intepnational Specialty Lines Insupance Company

             SPECIAL CLASS ACTION RETENTION AMENDATORY ENDORSEMENT

       This endorsement amends the Security & Privacy Liability Module of the policy.

  In consideration of the premium charged, it is hereby understood and agreed that Clause 8.
  SPECIAL CLASS ACTION RETENTION is deleted in its entirety and replaced with the
  following:

  8.    SPECIAL CLASS ACTION RETENTION

         For each class action claim arising out of a wrongful acttsl which resulted in a
         privacy peril, the insurer shall only be liable for the amount of loss arising from such
         class action claim that exceeds the applicable Retention amount for such claim.
         Accordingly, the Retention amount for each class action claim shall be the greater
         of one million dollars ($1,000,000).


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                                                               ~~~                EXHIBIT C
                                                                                  PAGE 564
                                                              AUTHORIZED:S-RESENTATIVE
                                   END 12           Or Countersignature (In states where applicable)
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                                           ENDORSEMENT#       13


      This endorsement, effective 12: 01   am      Maf'ch 8, 2007           forms a part of
      policy number 966-95-20
      issued to OFFICE DEPOT, INC.


      by       Amef'ican Intef'national Specialty Lines Insuf'ance Company
               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               COVERAGE TERRITORY ENDORSEMENT

      Payment of loss under this policy shall only be made in full compliance with all United
      States of America economic or trade sanction laws or regulations, including, but not
      limited to, sanctions, laws and regulations administered and enforced by the U.S. Treasury
      Department's Office of Foreign Assets Control rOFAC'').




                                                                   AUTHORIZED REPRESENTATIVE
                                                      Or Countersignature (In states where applicable)



                                                END 013                                   EXHIBIT C
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                                                                                          PAGE 565
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 This endorsement, effective   12:01 am       Maf'ch 8, 2007          forms a part of
 policy number 966-95-20
 issued to   OFFICE DEPOT,     INC.

 by      Amef'ican Intef'national Specialty Lines Insuf'ance Company

                                FORMS INDEX ENDORSEMENT

 The contents of the Policy is comprised of the following forms:




  MNSCPT                              IDENTITY THEFT CALL CENTER SERVICES

  MNSCPT




  MNSCPT                              NOTICE OF CLAIM PROVISION AMENDATORY

  MNSCPT                              CONSENT TO SETTLEMENT AMENDATORY

  MNSCPT                              SPECIAL CLASS ACTION RETENTION AMENDATORY




                                                            L:?~,              EXHIBIT C
                                                           AUTHORIZED ~RESENTATIVE
                                                                               PAGE 566
                                  END 14         Or Countersignature (In states where applicable)
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                             ENDORSEMENT#     04/02/15 Page 71 of 79 Page ID #:567

 This endorsement, effective     12:01 am       Octobe!' 31,2007          forms a part of
 policy number 966-95-20
 issued to   OFFICE DEPOT,      INC.

 by         Ame!'ican Inte!'national Specialty Lines Insu!'ance Company

                      PRINTERS E&O MODULE ADDITION ENDORSEMENT

       This endorsement amends the Declarations and PRINTERS E&O Module of this policy.

 In consideration of the additional premium of $10,560, it is hereby understood and agreed
 that the policy is amended as follows:

  1.      On and as of 10/31/2007, this policy shall provide coverage for claims arising out
          of any wrongful act for which coverage may be provided under the Printers E&O
          Module of the policy, subject to the terms, conditions, exclusions and other
          limitations set forth in the BASE Section, the Printers E&O Module and this
          endorsement. As of such date, the Printers E&O Module is attached to and made a
          part of this policy.

 2.       Item 4 of the Declarations is amended to include the following at the end thereof:

            4     COVERAGE       SUBlIMIT OF      RETENTION RETROACTIV            FIRST
                  MODULE         LIABILITY                  E DATE                INCEPTION
                                                                                  DATE
                  PRINTERS        $1,000,000     . $100,000      10/31/2007       10/31/2007
                  E&O




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                                                                                       EXHIBIT C
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                                   END 15
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                                             ENDORSEMENT#     16


This endorsement, effective 12:01     am     . tlctobe» 31, 2007             forms a part of
policy number 966-95-20
issued to OFFICE OEPOT, INC.


bV       Ame!'ican Inte!'national Specialty lines Insu!'ance Company
                                           FORMS INDEX (AMENDED)
In consideration of the premium charged, it is hereby understood and agreed that the "Forms Index"
Endorsement is amended to include the following:
                             1°E
                       EDDAITT NI
FORM NUMBER            I
                       ...                            FORM TITLE

MNSCPT                              PRINTERS E&O MODULE ADDITION ENDORSEMENT
PENMAN                     01/05    Forms I ndex (Amended)

MNSCPT                              PRINTERS E&O MODULE

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                        AUTHORIZED REPRESENTATIVE
                                                              Or Countersignature (In states where applicable




                                                                                          EXHIBIT C
                                               END 016                                    PAGE 568
(1/05)                                          Pace 1 of 1
Case 2:15-cv-02416-SVW-JPR Document 1-4 Filed
                              ENDORSEMENT     04/02/15 Page 73 of 79 Page ID #:569
                                           # 17

  This endorsement, effective   12: 01 am      March 8, 2007              forms a part of
  policy number 966-95-20
  issued to   OfFICE DEPOT,     INC.

  by      American International Specialty Lines Insurance Company

        "PROFESSIONAL SERVICES" DEFINITION AMENDATORY ENDORSEMENT

       This endorsement amends the PRINTERS E&O MODULE Module of the policy.

 In consideration of the premium charged, it is hereby understood and agreed that Clause
 5. MODULE DEFINITIONS of the PRINTERS E&O Module, paragraph MPL(d), "professional
 services," is deleted in its entirety and replaced with the following:

    MPL (d)   "Professional services" shall mean printing services that are performed:
                 (i)    by you; or
                 (ii)   for you by others acting under your trade name.




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                                                            v~;            EXHIBIT C
                                                           AUTHORIZED ~TATIVE
                                                                           PAGE 569
                                  END 17          Or Countersignature (In states where applicable)
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                                             ENDORSEMENT # 18



This endorsement, effective 12:01     am      October 31,2007                  forms a part of
policy number   966-95-20
issued to OFFICE DEPOT, INC.


by          American International Specialty Lines Insurance Company
                                           FORMS INDEX (AMENDED)
In consideration of the premium charged, it is hereby understood and agreed that the "Forms Index"
Endorsement is amended to include the following:
                         EDITIONI
FORM NUMBER              j DATE                         FORM TITLE
                                  -----------------------------
 MNSCPT                           "PROFESSIONAL SERVICES" DEFINITION AMENDATORY ENDORSEMENT
 PENMAN                   01/05     Forms Index    (Amended)

 MNSCPT                             PRINTERS E&O MODULE

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                          AUTHORIZED REPRESENTATIVE
                                                                Or Countersignature (In states where applicable




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                                               END 18
{1   m!;\                                         Pana 1 of 1
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                                     AIG netAdvantage®
                                      Modular Edition"

                              PRI,NTERS E&O MODULE
                                 PROFESSIONAL LIABILITY INSURANCE


1. MODULAR FORMAT
  This MPL Module is a part of an AIG ProTech Modular Edition policy comprised of the following
  components: (i) the Declarations, (ii) a BASE Section, (iii) this Coverage Module, and (iv) if
  purchased, other optional Coverage Modules. This Coverage Module affords no coverage
  except as part of a policy comprised of the components set forth above.           The terms,
  conditions, exclusions and other limitations set forth in this Coverage Module are solely
  applicable to coverage afforded by this Coverage Module. THIS COVERAGE MODULE IS
  WRITTEN ON A CLAIMS-MADE AND REPORTED BASIS.
2. BASE INSURING AGREEMENT

  In Clause 2. INSURING AGREEMENTS of the BASE Section, COVERAGE A: LIABILITY FOR
  DAMAGES does not apply to the coverage afforded under this Coverage Module

3. MODULE INSURING AGREEMENT

  COVERAGE A: LIABILITY FOR DAMAGES

  We shall pay amounts, in excess of the applicable Retention, you or any additional insureds are
  legally obligated to pay as damages arisinq from a claim
      (i)   made against you or such additional insured, or
      (ii)  for liability from others,
  for wrongful acts.

4. BASE DEFINITIONS
  With respect to the coverage afforded under this Coverage Module only, the definitions of the
  BASE Section are hereby deleted and replaced, or amended (as applicable) as follows:
  "Leased worker" is deleted in its entirety and replaced with the following:
           "Leased worker" means any person provided by an employment contractor or agency
           under an agreement between an organization and the employment contractor or
           agency to perform duties related to the conduct of an organization's professional
           services.
   "Loss" is deleted in its entirety and replaced with the following:
           "Loss" means the total sum of damages and claim expenses.             "Claim expenses,"
           "damages" and "loss" shall not mean and this policy shall not cover: (1)
           compensation, benefits, overhead, charges or expenses of any insured or such
           insured's employees; (2) production costs or the cost of recall, reproduction, reprinting
           or correction of material by any person or entity; (3) your cost of providing, correctinq
           or re-performing or completing any professional services or Internet professional
           services; (4) any costs or expenses incurred by any person or entity to withdraw or

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            recall material, media, medium (including CD's, DVD's, cassettes and LP's), products
            (including products of others which incorporate your products) or professional services
            from the marketplace, or from loss of use arising out of such withdrawal or recall; (5)
            civil or criminal fines or penalties; (6) taxes; (7) any amounts for which an insured is
            not financially liable or which are without legal recourse to an insured; (8) the costs
            and expenses of complying with any injunctive or other form of equitable relief; (9) the
            monetary value of any electronic fund transfer or transaction by an insured or on your
            behalf, which is lost or diminished during transfer into, out of or between an insured's
            accounts; (10) liquidated damages; and (11) matters which may be deemed'
            uninsurable under the law pursuant to which this policy shall be construed.

5. MODULE DEFINITIONS

  MPL (a)    "Internet professional services" means any of the following services:
              (1) "Application service provider (ASP services)," which means providing access to
                  computer applications controlled by you for use by others through the Internet;
              (2) "Domain name registration services," which means the following services
                  provided in order to facilitate navigation of the Internet: collecting, processing or
                  maintaining information provided to you which is necessary for registering a
                  domain name; registering a domain name; or accepting or maintaining a record
                  of domain names in a database;
              (3) "e-Commerce transaction services," which means the following services
                  provided on behalf of others through the Internet: processing electronic
                  transactions; registering Internet users; or collecting or organizing information
                  provided by Internet users, including demographic and transactional data;
              (4) "Electronic exchange and auction services," which means: the electronic
                  matching of third-party buyers and third-party sellers of goods or services
                  through the Internet; and providing e-commerce transactions services with
                  respect to such buyers and sellers;
              (5) "Internet hosting services," which means: housing or maintaining physical
                  control over others' computer file servers connected to the Internet; or providing
                  storage of others' electronic data on your computer systems connected to the
                  Internet, for the purpose of transmitting electronic data through the Internet;
              (6) "Internet media services," which means: the electronic publishing or display of
                  material (including advertising) on an Internet site; or providing or maintaining of:
                  instant messaging, web-conferencing, webcasting, Internet-based electronic
                  mail, online forums, bulletin boards, list-serves or chat rooms;
              (7) "Internet service provider (ISP services)," which means providing direct access
                  to the Internet;
              (8) "Managed and network security services," which means: reviewing, analyzing,
                  or consulting with respect to written security policies intended to prevent a
                  computer attack; analyzing, testing, or monitoring the security infrastructure or
                  vulnerabilities of computer systems; implementing, managing or maintaining
                  security; providing content filtering security; providing security patch
                  administration; providing security audits; or preparing security assessment
                  reports;

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             (9) "Public Key Infrastructure Services," which means: developing, implementing, or
                 managing public key infrastructure; registering, authenticating or validating the
                 identities of users of public key infrastructure; issuing or managing electronic
                 security credentials or digital certificates for message encryption; monitoring or
                 maintaining the integrity or security of electronic information transmitted using
                 public key infrastructure;
             (10) "Search     engine services," which means providing search or navigational
                 computer applications to allow others to locate electronic data through the
                 Internet; or
             (11) "Web portal services," which means organizing, aggregating, or providing
                 access to electronic data, material or any service described above in this
                 definition, through an Internet site commonly known as a "web portal."
  MPL (b)·   "Liability from others" means vicarious liability of any insured for damages from
             wrongful acts.
  MPL (c)    "Over-redemption" means coupons, price discounts, prizes, awards or any other
             valuable consideration given in excess of the total contracted or expected amount.
  MPL (d)    "Professional services" shall mean printing services that are performed:
               (i)     by you; or
               (ii)    for you by others acting under your trade name;
               for others for compensation:
  MPL (e)     "Wrongful act" means any actual or alleged negligent act, error, omission, breach of
             duty, misstatement or misleading statement, committed or omitted on or after the
             retroactive date in the performance of or failure to perform your professional services
6. BASE EXCLUSIONS
  Exclusions in Paragraphs 4(a) (fraudulent acts), 4(e) (intellectual property infringement), 4(f)
  (trade secret), 4(g) (personal injury), 4(h) (false advertising), 4(i) (FTC, HHS, OCR), 4(0) (breach
  of contract), 4(p) (contractual obligations) and 4(r) (insured v. insured) of the BASE Section are
  not applicable to this Coverage Module.

7. MODULE EXCLUSIONS
  MPL (a)    arising out of or resulting, directly or indirectly, from any dishonest, fraudulent,
             criminal or malicious act, error or omission, or any intentional or knowing violation of
             the law, or gaining of any profit or advantage to which an insured is not legally
             entitled; however, we will defend suits alleging any of the foregoing conduct until
             there is a judgment against, final adjudication against, adverse finding of fact
             against, adverse admission, at which time you shall reimburse us for claim expenses;
             provided, however, we will not defend such suits if they allege any of the foregoing
             conduct which has been the subject of a criminal proceeding in which an insured has
             been found guilty, or pleaded nolo contendere or no contest;
  MPL (b)    alleging, arising out of or resulting, directly or indirectly, from any infringement of
             any patent, copyright, trademark, trade dress, trade name, service mark or other
             intellectual property;



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  MPL (c)   alleging, arising out of or resulting, directly or indirectly, from any misappropriation of
            trade secret;
  MPL (d)   arising out of or resulting, directly or indirectly, from Internet professional services;
  MPL (e)   alleging, arising out of or resulting, directly or indirectly, from an actual or threatened
            computer attack to your computer system;
  MPL (f)   alleging, arising out of or resulting, directly or indirectly, from any:
            (1 )   malicious prosecution; or
            (2)    invasion of any right of privacy.
  MPL (g)   alleging, arising out of or resulting, directly or indirectly, from any (1) false or
            deceptive advertising or misrepresentation in advertising of your products or
            services, or (2) unfair competition based on such advertising, including, but not
            limited to, advertising related violations of any local, state or federal consumer
            protection or privacy laws;
  MPL (h)   against you that is brought by or on behalf of:
            (1)    the Federal Trade Commission ("FTC"), the Department of Health and Human
                   Services ("HHS"), the Office of Civil Rights ("OCR"), the Federal
                   Communications Commission ("FCC") or any other federal, state or local
                   government agency, or foreign government agency; or
            (2)    the American Society of Composers, Authors and Publishers, the Society of
                   European Stage Authors and Composers, Broadcast Music, Inc., or any other
                   licensing or rights organizations in such entity's regulatory, quasi-regulatory or
                   official capacity, functions or duties;
            provided, however, this exclusion shall not apply to any claim for otherwise covered
            wrongful acts in your performance of professional services for any of the foregoing
            government agencies or licensing or rights organizations;
  MPL (i)   alleging, arising out of or resulting, directly or indirectly, from any insured (1)
            advising, requiring, obtaining, or (2) failing to advise, require, obtain, effect or
            maintain any bond, suretyship or other insurance;
  MPL (j)   alleging, arising out of or resulting, directly or indirectly, from any liability or
            obligation under any contract or agreement or out of any breach of contract;
            however, this exclusion does not apply to any:
            (1)    liability or obligation an insured would have in the absence of such contract or
                   agreement; or
            (2)    liability or obligation under a contract for professional services from a
                   wrongful act;
  MPL (k)   alleging, arising out of or resulting, directly or indirectly, from any guarantee or
            express warranty; inaccurate, inadequate, or incomplete description of the price of
            goods, products or services; or any failure of goods, products or services to conform
            with an advertised quality or performance; or liquidated damages; or any failure to
            provide goods or products, or perform services within a specified time period, by a
            deadline or according to specified milestones; or the collection of or seeking the
            return of fees or royalties or other compensation paid to an insured; or your cost of
            providing, correcting or re-performing or completing any professional services; or any


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            insured's fees, cost or profit guarantees, cost representations, contract price, or
            estimates of probable costs or cost estimates being exceeded;
  MPL (I)   alleging, arising out of or resulting, directly or indirectly, from any violation of any
            insured's privacy policy or any failure of any insured to maintain a privacy policy;
  MPL (m)   against an insured that is brought, directly or indirectly, by or on behalf of:
            (1)    any of you;
            (2)    any business entity that is controlled, managed or operated, directly or
                   indirectly, in whole or in part, by you;
            (3)    any parent company, subsidiarv, director, officer, partner, trustee, successor
                   or assignee of yours, or any person or entity affiliated with you or such
                   business entity through common majority ownership or control; or
            (4)    any independent contractor of an insured or any leased worker; however, this
                   exclusion shall not apply to claims arising out of your professional services
                   provided to such independent contractor; or
  MPL (n)   arising out of a wrongful act committed with the knowledge that it was a wrongful
            act; or
  MPL (0)   alleging or arising out of over-redemption.



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